Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 1 of 75 Page ID #:1



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16
                     THE UNITED STATES DISTRICT COURT
17                FOR THE CENTRAL DISTRICT OF CALIFORNIA
18                          SOUTHERN DIVISION
19
     JOHN SJODIN, on behalf of                 Case No. _________________
20   himself and on behalf of all others
21   similarly situated,
                                                        CLASS ACTION
22
                     Plaintiff,
23                                             COMPLAINT FOR DAMAGES AND
24          v.                                 EQUITABLE RELIEF FOR:

25   CITY OF HOPE,                               1. NEGLIGENCE
26                   Defendant.                  2. NEGLIGENCE PER SE
                                                 3. BREACH OF IMPLIED
27                                                  CONTRACT
28                                               4. COMMON LAW INVASION


                                  CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 2 of 75 Page ID #:2



 1                                                 OF PRIVACY
 2                                              5. CALIFORNIA
                                                   CONFIDENTIALITY OF
 3                                                 MEDICAL INFORMATION
 4                                                 ACT (“CMIA”), CAL. CIV.
                                                   CODE § 56
 5                                              6. CALIFORNIA CUSTOMER
 6                                                 RECORDS ACT, CAL. CIV.
                                                   CODE § 1798.80 ET SEQ.
 7                                              7. CALIFORNIA UNFAIR
 8                                                 COMPETITION LAW, CAL.
                                                   BUS. & PROF. CODE § 17200
 9                                                 ET SEQ.
10                                              8. DECLARATORY JUDGMENT
                                                9. UNJUST ENRICHMENT
11

12                                                  DEMAND FOR JURY TRIAL
13

14         John Sjodin (“Plaintiff)” brings this Class Action Complaint against City of
15   Hope (“Defendant”), on behalf of himself and all others similarly situated (“Class
16   Members”), and alleges, upon personal knowledge as to his own actions and his
17   counsels’ investigations, and upon information and belief as to all other matters, as
18   follows:
19                             NATURE OF THE ACTION
20         1.    Plaintiff brings this class action against Defendant for its failure to
21   properly secure and safeguard personally identifiable information (“PII”) and
22   protected health information (“PHI”) including, but not limited to, contact
23   information (e.g., email address, phone number), date of birth, Social Security
24   number, driver’s license or other government identification, financial details (e.g.,
25   bank account and/or credit card details, health insurance information, medical
26   records and information about medical history and/or associated conditions, and/or
27   unique identifiers to associate individuals with City of Hope (e.g., medical record
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                               CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 3 of 75 Page ID #:3



 1   number) (collectively, PII and PHI are referred to as “Private Information” or
 2   “Personal Information”).1
 3         2.      Defendant states it is a world-renowned pioneer in cancer research,
 4   treatment and prevention and home to a National Cancer Institute (NCI)-designated
 5   comprehensive cancer center.2
 6         3.      To provide medical services, and in the ordinary course of Defendant’s
 7   business, Defendant acquires, possesses, analyzes, and otherwise utilizes Plaintiff’s
 8   and Class Members’ Private Information.
 9         4.      As a non-profit corporation doing business in California and having
10   employees and patients in California, Defendant is legally required to protect
11   personal information from unauthorized access, disclosure, theft, exfiltration,
12   modification, use, or destruction.
13         5.      With this action, Plaintiff seeks to hold Defendant responsible for the
14   harms it caused and will continue to cause Plaintiff and hundreds of thousands of
15   other similarly situated persons in a massive and preventable cyberattack.
16         6.      Between September 19, 2023 and October 12, 2023, cybercriminals
17   infiltrated Defendant’s inadequately protected network servers and accessed and
18   exfiltrated highly sensitive Private Information belonging to Plaintiff and Class
19   Members which was being kept unprotected and unencrypted (the “Data Breach”). 3
20         7.      Plaintiff further seeks to hold Defendant responsible for not ensuring it
21   maintained the Private Information in a manner consistent with industry standards.
22         8.      While Defendant claims to have discovered the Data Breach as early as
23   October 13, 2023, Defendant did not begin informing victims of the Data Breach
24   until December 14, 2023—two months later.4 Indeed, Plaintiff and Class Members
25   were wholly unaware of the Data Breach until they received Notice Letters from
26
     1
       See Ex. 1 (Notice Letter).
27   2
       https://www.cityofhope.org/.
     3
       https://www.cityofhope.org/notice-of-data-security-incident.
28   4
      See Ex. 1.
                                               -3–

                                 CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 4 of 75 Page ID #:4



 1   Defendant. During this time, Plaintiff and Class Members were unaware that their
 2   sensitive Private Information had been compromised, and that they were, and
 3   continue to be, at significant risk of identity theft and various other forms of personal,
 4   social, and financial harm.
 5         9.     The Notice Letter provides no further information regarding the Data
 6   Breach and only recommends how victims can place a fraud alert or credit freeze on
 7   their account and how to sign up for the limited, and abbreviated identity monitoring
 8   services Defendant offered to only certain Class Members in response to the Data
 9   Breach. The Notice Letter does not explain how the Data Breach occurred, what steps
10   Defendant took following the Data Breach, whether Defendant made any changes to
11   its data security, or most importantly, whether Plaintiff’s and Class Members’ Private
12   Information remains in the possession of criminals.
13         10.    Plaintiff and the Class Members have taken reasonable steps to maintain
14   the confidentiality of their Private Information.
15         11.    By acquiring, utilizing, and benefiting from Plaintiff’s and Class
16   Members’ Private Information for its business purposes, Defendant owed or
17   otherwise assumed common law, contractual, and statutory duties that extended to
18   Plaintiff and Class Members. These duties required Defendant to design and
19   implement adequate data security systems to protect Plaintiff’s and Class Members’
20   Private Information in its possession and to keep Plaintiff’s and Class Members’
21   Private Information confidential, safe, secure, and protected from unauthorized
22   disclosure, access, dissemination, or theft.
23         12.    Defendant breached these duties by failing to implement adequate data
24   security measures and protocols to properly safeguard and protect Plaintiff’s and
25   Class Members’ Private Information from a foreseeable cyberattack on its systems
26   that resulted in the unauthorized access and theft of Plaintiff’s and Class Members’
27   Private Information.
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                                CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 5 of 75 Page ID #:5



 1            13.   Currently, the full extent of the types of Private Information, the scope
 2   of the breach, and the root cause of the Data Breach are all within the exclusive
 3   control of Defendant, its agents, counsel, and forensic security vendors at this phase
 4   of the litigation.
 5            14.   Defendant disregarded the rights of Plaintiff and Class Members by
 6   intentionally, willfully, recklessly, and/or negligently failing to take and implement
 7   adequate and reasonable measures to ensure that the Private Information of Plaintiff
 8   and Class Members was safeguarded, failing to take available steps to prevent an
 9   unauthorized disclosure of data, and failing to follow applicable, required, and
10   appropriate protocols, policies and procedures regarding the encryption of data, even
11   for internal use. As a result, Plaintiff’s and Class Members’ Private Information was
12   compromised through disclosure to an unknown and unauthorized criminal third
13   party.
14            15.   Upon information and belief, Defendant breached its duties and
15   obligations in one or more of the following ways: (1) failing to design, implement,
16   monitor, and maintain reasonable network safeguards against foreseeable threats; (2)
17   failing to design, implement, and maintain reasonable data retention policies; (3)
18   failing to adequately train staff on data security; (4) failing to comply with industry-
19   standard data security practices; (5) failing to warn Plaintiff and Class Members of
20   Defendant’s inadequate data security practices; (6) failing to encrypt or adequately
21   encrypt the Private Information; (7) failing to recognize or detect that its network had
22   been compromised and accessed in a timely manner to mitigate the harm; (8) failing
23   to utilize widely available software able to detect and prevent this type of attack, and
24   (9) otherwise failing to secure the hardware using reasonable and effective data
25   security procedures free of foreseeable vulnerabilities and data security incidents.
26            16.   Based on the type of sophisticated and targeted criminal activity, the
27   type of Private Information involved, and Defendant’s admission that the Private
28   Information was accessed, it can be concluded that the unauthorized criminal third
                                                -5–

                                 CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 6 of 75 Page ID #:6



 1   party was able to successfully target Plaintiff’s and Class Members’ Private
 2   Information, infiltrate and gain access to Defendant’s network, and exfiltrate
 3   Plaintiff’s and Class Members’ Private Information, including full names, Social
 4   Security numbers, email addresses, dates of birth, driver's license numbers, and
 5   financial information, for the purposes of utilizing or selling the Private Information
 6   for use in future fraud and identity theft related cases.
 7          17.    As a result of Defendant’s failures and the Data Breach, Plaintiff’s and
 8   Class Members’ identities are now at a current and substantial imminent and ongoing
 9   risk of identity theft and shall remain at risk for the rest of their lives.
10          18.    As Defendant instructed, advised, and warned in its Notice Letter
11   discussed below, Plaintiff and Class Members must now closely monitor their
12   financial accounts to guard against future identity theft and fraud. Plaintiff and Class
13   Members have heeded such warnings to mitigate against the imminent risk of future
14   identity theft and financial loss. Such mitigation efforts included and will include into
15   the future: (a) reviewing financial statements; (b) changing passwords; and (c)
16   signing up for credit and identity theft monitoring services. The loss of time and other
17   mitigation costs are tied directly to guarding against and mitigating against the
18   imminent risk of identity theft.
19          19.    Plaintiff and Class Members have suffered numerous actual and
20   concrete injuries as a direct result of the Data Breach, including: (a) financial costs
21   incurred mitigating the materialized risk and imminent threat of identity theft; (b)
22   loss of time and loss of productivity incurred mitigating the materialized risk and
23   imminent threat of identity theft; (c) financial costs incurred due to actual identity
24   theft; (d) loss of time incurred due to actual identity theft; (e) loss of time heeding
25   Defendant’ warnings and following its instructions in the Notice Letter; (g)
26   deprivation of value of their Private Information; (h) invasions of their privacy; and
27   (i) the continued risk to their Private Information, which remains in the possession of
28
                                                  -6–

                                 CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 7 of 75 Page ID #:7



 1   Defendant, and which is subject to further breaches, so long as Defendant fail to
 2   undertake appropriate and adequate measures to protect it.
 3         20.    Plaintiff brings this action on behalf of all persons whose Private
 4   Information was compromised due to Defendant’s failure to adequately protect
 5   Plaintiff’s and Class Members’ Private Information. Accordingly, Plaintiff brings
 6   this action against Defendant seeking redress for its unlawful conduct and asserts
 7   claims on behalf of the Class for negligence, negligence per se, unjust enrichment,
 8   breach of implied contract, declaratory judgment, and common law invasion of
 9   privacy. Plaintiff also brings claims on behalf of a California subclass for violation
10   of the California Confidentiality of Medical Information Act (“CMIA”), Cal. Civ.
11   Code § 56, the California Customer Records Act, Cal. Civ. Code § 1798.80 et seq.,
12   and violation of the California Unfair Competition Law, Cal. Bus. & Prof. Code §
13   17200 et seq.
14                                          PARTIES
15         21.    Plaintiff John Sjodin is an adult individual and, at all relevant times
16   herein, a resident and citizen of the state of California, residing in Upland, California.
17         22.    Defendant City of Hope is a nonprofit corporation with its principal
18   place of business located at 1500 E. Duarte Road, Duarte, California 91010.
19                              JURISDICTION AND VENUE
20         23.    This Court has subject matter jurisdiction over this action under 28
21   U.S.C.§ 1332(d) because this is a class action wherein the amount in controversy
22   exceeds the sum or value of $5,000,000, exclusive of interest and costs, there are
23   more than 100 members in the proposed class, and at least one member of the class,
24   is a citizen of a state different from Defendant. Defendant is a citizen of the state of
25   California and the plaintiff class and/or subclasses defined herein include citizens of
26   other states, including California.
27         24.    This Court has general personal jurisdiction over Defendant City of
28   Hope because City of Hope is registered to do business in California with the
                                                -7–

                                CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 8 of 75 Page ID #:8



 1   California Secretary of State. Defendant regularly contracts with a multitude of
 2   businesses, organizations and consumers in California to provide medical and health
 3   care related services. The Court has specific personal jurisdiction over City of Hope
 4   because the claims in this action stem from its specific contacts with the State of
 5   California — namely, Defendant’s provision of medical and health care related
 6   services to a multitude of patients in California, Defendant’s collection, maintenance,
 7   and processing of the personal data of Californians in connection with such services,
 8   including but not limited to Defendant’s employees, Defendant’s failure to
 9   implement and maintain reasonable security procedures and practices with respect to
10   that data, and the consequent Data Breach.
11           25.    Venue is proper under 18 U.S.C § 1391(b)(1) (b)(1)-(2) and (c)(2)
12   because a substantial part of the events or omissions giving rise to the claims alleged
13   herein occurred within this judicial district, specifically City of Hope’s provision of
14   medical and health care related services in California and within Los Angeles
15   County, Defendant collection, maintenance, and processing of the personal data of
16   California citizens in connection with such services, City of Hope’s failure to
17   implement and maintain reasonable security procedures and practices with respect to
18   that data, and the consequent security breach of such data in July and August 2023
19   that resulted from City of Hope’s failure. In addition, Plaintiff is informed and
20   believes and thereon alleges that members of the class and subclass defined below
21   reside in the Central District, and Defendant has its corporate headquarters within the
22   Central District.
23                               FACTUAL BACKGROUND
24           26.    City of Hope is a cancer treatment and research organization with cancer
25   centers in Georgia, California, Illinois, and Arizona.5
26

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28   5
         https://www.cityofhope.org/.
                                                -8–

                                 CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 9 of 75 Page ID #:9



 1           27.   City of Hope has over 30 clinical network locations, 11,000 employees,
 2   and services over 131,000 patients per year.6
 3           28.   City of Hope had approximately $335 million in revenue in 2022 and
 4   total assets of $2.5 billion.7
 5           29.   Upon information and belief, Defendant provides a HIPPA Notice to
 6   every patient upon request.
 7           30.   As a condition of providing medical care and/or medical billing,
 8   Defendant compiles, retains and stores its patients and employees’ sensitive
 9   information including their names, contact information (e.g., email addresses, phone
10   numbers), dates of birth, Social Security numbers, driver’s license or other
11   government identification, financial details (e.g., bank account number and/or credit
12   card details), health insurance information, medical records and information about
13   medical history and/or associated conditions, and/ or unique identifiers to associate
14   individuals with City of Hope (e.g., medical record number).8
15           31.   Defendant has served thousands of individuals since its founding and
16   has created and maintains a massive repository of Personal Information, acting as a
17   particularly lucrative target for data thieves looking to obtain, misuse, or sell patient
18   data.
19           32.   In the ordinary course of its business, Defendant maintains the Private
20   Information of its patients, customers, current and past employees, and others
21   including but not limited to full names, Social Security numbers, addresses, dates of
22   birth, driver's license numbers, and financial information.
23           33.   Additionally, City of Hope may receive Private Information from other
24   individuals and/or organizations including Plaintiff’s and Class Members’
25

26
     6
27     https://www.cityofhope.org/sites/www/files/2023-10/2022-Annual-Report.pdf.
     7
       https://projects.propublica.org/nonprofits/organizations/953435919.
28   8
       See Ex. 1.
                                                -9–

                                 CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 10 of 75 Page ID #:10



 1   employers, insurance carriers, and in connection with enrollment in employee
 2   insurance and retirement benefit plans.
 3         34.    Because of the highly sensitive and personal nature of the information
 4   Defendant acquires and stores with respect to consumers, Defendant, upon
 5   information and belief, promises to, among other things: keep protected health
 6   information private; comply with healthcare industry standards related to data
 7   security and Private Information, inform consumers of its legal duties and comply
 8   with all federal and state laws protecting consumer Private Information; only use and
 9   release Private Information for reasons that relate to medical care and treatment, and,
10   provide adequate notice to individuals if their Private Information is disclosed
11   without authorization.
12         35.    As a HIPAA covered business entity (see infra), City of Hope is
13   required to implement adequate safeguards to prevent unauthorized use or disclosure
14   of Private Information, including by implementing requirements of the HIPAA
15   Security Rule and to report any unauthorized use or disclosure of Private Information,
16   including incidents that constitute breaches of unsecured protected health
17   information as in the case of the Data Breach complained of herein.
18         36.    However, City of Hope did not maintain adequate security to protect its
19   systems from infiltration by cybercriminals, and it waited nearly 2 months to disclose
20   the Data Breach publicly.
21         37.    By obtaining, collecting, using, and deriving a benefit from Plaintiff and
22   Class Members’ Private Information, Defendant assumed legal and equitable duties
23   and knew or should have known that it was responsible for protecting Plaintiff’s and
24   Class Members’ Private Information from unauthorized disclosure.
25         38.    At every step, Defendant stores Plaintiff’s and Class Members’ sensitive
26   Private Information and has a duty to protect that Private Information from
27   unauthorized access.
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                                               - 10 –

                                 CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 11 of 75 Page ID #:11



 1          39.    By obtaining, collecting, using, and deriving a benefit from Plaintiff’s
 2   and Class Members’ Private Information, Defendant assumed legal and equitable
 3   duties and knew or should have known that it was responsible for protecting
 4   Plaintiff’s and Class Members’ Private Information from unauthorized disclosure.
 5          40.    Plaintiff and Class Members relied on Defendant to implement and
 6   follow adequate data security policies and protocols, to keep their Private
 7   Information confidential and securely maintained, to use their Private Information
 8   solely for proper business and healthcare related services and purposes, and to
 9   prevent the unauthorized disclosure of their Private Information.
10          City of Hope is a HIPAA Covered Entity
11          41.    City of Hope is a HIPAA covered entity that provides healthcare and
12   medical services. As a regular and necessary part of its business, City of Hope
13   collects and custodies the highly sensitive Private Information of its patients and
14   clients’ patients.
15          42.    City of Hope is required under federal and state law to maintain the
16   strictest confidentiality of the patient’s Private Information that it requires, receives,
17   and collects, and City of Hope is further required to maintain sufficient safeguards to
18   protect that Private Information from being accessed by unauthorized third parties.
19          43.    As a HIPAA covered entity, City of Hope is required to ensure that it
20   will implement adequate safeguards to prevent unauthorized use or disclosure of
21   Private Information, including by implementing requirements of the HIPAA Security
22   Rule and to report any unauthorized use or disclosure of Private Information,
23   including incidents that constitute breaches of unsecured PHI as in the case of the
24   Data Breach complained of herein.
25          44.    Due to the nature of City of Hope’s business, which includes providing
26   a range of medical services, City of Hope would be unable to engage in its regular
27   business activities without collecting and aggregating Private Information that it
28   knows and understands to be sensitive and confidential.
                                                - 11 –

                                CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 12 of 75 Page ID #:12



 1           45.      By obtaining, collecting, using, and deriving a benefit from Plaintiff’s
 2   and Class Members’ Private Information, City of Hope assumed legal and equitable
 3   duties and knew or should have known that it was responsible for protecting
 4   Plaintiff’s and Class Members’ Private Information from unauthorized disclosure.
 5           46.      Plaintiff and Class Members were current and former patients,
 6   customers, employees, and contractors whose Private Information was maintained by
 7   City of Hope, or who received health-related or other services from City of Hope,
 8   and directly or indirectly entrusted City of Hope with their Private Information.
 9           47.      Plaintiff and the Class Members relied on City of Hope to implement
10   and follow adequate data security policies and protocols, to keep their Private
11   Information confidential and securely maintained, to use such Private Information
12   solely for business and health care purposes, and to prevent the unauthorized
13   disclosures of the Private Information. Plaintiff and Class Members reasonably
14   expected that City of Hope would safeguard and keep their Private Information
15   confidential.
16           48.      As described throughout this Complaint, City of Hope did not
17   reasonably protect, secure, or store Plaintiff’s and Class Members’ Private
18   Information prior to, during, or after the Data Breach, but rather, enacted
19   unreasonable data security measures that it knew or should have known were
20   insufficient to reasonably protect the highly sensitive information City of Hope
21   maintained. Consequently, cybercriminals circumvented City of Hope’s security
22   measures, resulting in a significant and preventable data breach.
23           The Data Breach and Notice Letter
24           49.      According to City of Hope, on or about October 13, 2023, City of Hope
25   became aware of suspicious activity on a subset of its systems and immediately
26   instituted mitigation measures to minimize any disruption to its operations.9
27

28   9
         See Ex. 1.
                                                 - 12 –

                                   CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 13 of 75 Page ID #:13



 1              50.   After an investigation, City of Hope determined that an unauthorized
 2   third party accessed a subset of its systems and obtained copies of some files between
 3   September 19, 2023, and October 12, 2023.10
 4              51.   The impacted personal information identified thus far varies by
 5   individual but may have included name, contact information (e.g., email address,
 6   phone number), date of birth, social security number, driver’s license or other
 7   government identification, financial details (e.g., bank account number and/or credit
 8   card details), health insurance information, medical records and information about
 9   medical history and/or associated conditions, and/ or unique identifiers to associate
10   individuals with City of Hope (e.g., medical record number).11
11              52.   The investigation determined that the accessed systems contained
12   Private Information belonging to Plaintiff and Class Members. Upon information and
13   belief, this Private Information was accessible, unencrypted, unprotected, and
14   vulnerable to acquisition and/or exfiltration by the unauthorized actor. In other
15   words, Plaintiff’s and Class Members’ Private Information was exfiltrated and stolen
16   in the attack.
17              53.   While City of Hope stated in the Notice Letter that the Data Breach
18   occurred between September 19, 2023, and October 12, 2023, City of Hope did not
19   begin notifying victims until December 2023.12
20              54.   Defendant had obligations created by contract, industry standards,
21   HIPPA, common law, and its own promises and representations to keep Plaintiff’s
22   and Class Members’ Private Information confidential and to protect it from
23   unauthorized access and disclosure.
24              55.   Plaintiff and Class Members provided their Private Information directly,
25   or indirectly, to Defendant with the reasonable expectation and mutual understanding
26
     10
27      Id.
     11
          Id.
28   12
          Id.
                                                 - 13 –

                                   CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 14 of 75 Page ID #:14



 1   that Defendant would comply with its obligations to keep such information
 2   confidential and secure from unauthorized access.
 3         56.    Through its Notice Letter, City of Hope recognized the actual imminent
 4   harm and injury that flowed from the Data Breach, so it encouraged breach victims
 5   to take steps to mitigate their risk of identity theft, such as reviewing financial
 6   accounts, and reviewing credit reports for possible fraud.13
 7         57.    City of Hope has offered abbreviated, non-automatic credit monitoring
 8   services to victims thereby identifying the harm posed to Plaintiff and Class Members
 9   as a result of the Data Breach, which does not adequately address the lifelong harm
10   that victims face following the Data Breach. Indeed, the Data Breach involves Private
11   Information that cannot be changed, such as Social Security numbers.
12         58.    Beginning on or around December 14, 2023, Defendant began issuing
13   Notice Letters to Plaintiff and Class Members.14
14         59.    Defendant issued another round of Notice Letters in or around April 2,
15   2024. 15
16         60.    In total, Defendant claims 827,149 were impacted by the Data Breach.16
17         61.    The Notice Letters sent to Plaintiff and Class Members stated sensitive
18   information including names, contact information (e.g., email addresses, phone
19   numbers), dates of birth, social security numbers, driver’s license or other
20   government identification, financial details (e.g., bank account number and/or credit
21   card details), health insurance information, medical records and information about
22   medical history and/or associated conditions, and/ or unique identifiers to associate
23

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     13
        Id.
26   14
        https://apps.web.maine.gov/online/aeviewer/ME/40/1bb296e2-ea79-438c-b357-
27   28ef738a0bf6.shtml.
     15
        Id.
28   16
        Id.
                                              - 14 –

                               CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 15 of 75 Page ID #:15



 1   individuals with City of Hope (e.g., medical record number) was accessed and
 2   obtained in the Data Breach.17
 3              62.   As a result of the Data Breach, Plaintiff and hundreds of thousands of
 4   Class Members suffered ascertainable losses in the form of the loss of the benefit of
 5   their bargain, out-of-pocket expenses, and the value of their time reasonably incurred
 6   to remedy or mitigate the effects of the attack and the substantial and imminent risk
 7   of identity theft.
 8              63.   Defendant waited approximately two months to disclose the Data Brach
 9   to Plaintiff and Class Members. As a result of this delay, Plaintiff and Class Members
10   had no idea their Private Information had been compromised in the Data Breach, and
11   that they were, and continue to be, at significant risk of identity theft and various
12   other forms of personal, social, and financial harm. The risk will remain for their
13   respective lifetimes.
14              64.   Defendant’s failure to timely detect and report the Data Breach made its
15   consumers vulnerable to identity theft without any warnings to monitor their financial
16   accounts or credit reports to prevent unauthorized use of their Private Information.
17              65.   This Private Information was compromised due to Defendant’s
18   negligent and/or careless acts and omissions and the failure to protect the Private
19   Information of Plaintiff and Class Members.
20              66.   As a HIPAA covered entity that collects, creates, and maintains
21   significant volumes of Private Information, the targeted attack was a foreseeable risk
22   of which City of Hope was aware and knew it had a duty to guard against. It is well-
23   known that healthcare businesses such as Defendant, which collect and store the
24   confidential and sensitive PII/PHI of thousands of individuals, are frequently targeted
25   by cyberattacks. Further, cyberattacks are highly preventable through the
26

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28   17
          Id.
                                                 - 15 –

                                   CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 16 of 75 Page ID #:16



 1   implementation of reasonable and adequate cybersecurity safeguards, including
 2   proper employee cybersecurity training.
 3         67.      The targeted cyberattack was expressly designed to gain access to and
 4   exfiltrate private and confidential data, including (among other things) the Private
 5   Information of patients, like Plaintiff and Class Members.
 6         68.      Despite recognizing its duty to do so, on information and belief,
 7   Defendant has not implemented reasonable cybersecurity safeguards or policies to
 8   protect its patients’ Private Information or trained its IT or data security employees
 9   to prevent, detect, and stop breaches of its systems. As a result, Defendant leaves
10   significant vulnerabilities in its systems for cybercriminals to exploit and gain access
11   to patients’ and consumers’ Private Information.
12         69.      Plaintiff and Class Members directly or indirectly entrusted Defendant
13   with sensitive and confidential information, including their Private Information
14   which includes information that is static, does not change, and can be used to commit
15   myriad financial crimes.
16         70.      Plaintiff and Class Members relied on Defendant to keep their Private
17   Information confidential and securely maintained, to use their Private Information
18   for authorized purposes only, and to make only authorized disclosures of this
19   information. Plaintiff and Class Members demand Defendant safeguard their Private
20   Information.
21         71.      The unencrypted Private Information of Plaintiff and Class Members
22   will likely be offered for sale on the dark web as is the modus operandi of hackers.
23   In addition, unencrypted Private Information may fall into the hands of companies
24   that will use the detailed Private Information for targeted marketing without the
25   approval of Plaintiff and Class Members. In turn, unauthorized individuals can easily
26   access the Private Information of Plaintiff and Class Members.
27         72.      Defendant did not use reasonable security procedures and practices
28   appropriate to the nature of the sensitive, unencrypted information they were
                                               - 16 –

                                 CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 17 of 75 Page ID #:17



 1   maintaining for Plaintiff and Class Members, causing the exposure of Private
 2   Information.
 3          73.     Due to City of Hope’s inadequate security measures and its delayed
 4   notice to victims, Plaintiff and Class Members now face a present, immediate, and
 5   ongoing risk of fraud and identity theft that they will have to deal with for the rest of
 6   their lives.
 7          The Data Breach Was Foreseeable
 8          74.     Defendant’s data security obligations were particularly important given
 9   the substantial increase in cyberattacks and/or data breaches in the healthcare
10   industry and other industries holding significant amounts of PII and PHI preceding
11   the date of the breach.
12          75.     At all relevant times, City of Hope knew, or should have known, that
13   Plaintiff, and Class Members’ Private Information was a target for malicious actors.
14   Despite such knowledge, City of Hope failed to implement and maintain reasonable
15   and appropriate data privacy and security measures to protect Plaintiff’s and Class
16   Members’ Private Information from cyberattacks that City of Hope should have
17   anticipated and guarded against.
18          76.     The targeted attack was expressly designed to gain access to and
19   exfiltrate private and confidential data, including (among other things) the Private
20   Information of patients, like Plaintiff and Class Members.
21          77.     In light of recent high profile data breaches at other health care
22   providers, Defendant knew or should have known that their electronic records and
23   consumers’ Private Information would be targeted by cybercriminals and
24   ransomware attack groups.
25          78.     Cyber criminals seek out PHI at a greater rate than other sources of
26   personal information. In a 2022 report, the healthcare compliance company Protenus
27   found that there were 905 medical data breaches in 2021, leaving over 50 million
28
                                               - 17 –

                                 CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 18 of 75 Page ID #:18



 1   patient records exposed for 700 of the 2021 incidents. This is an increase from the
 2   758 medical data breaches that Protenus compiled in 2020.18
 3         79.    The healthcare sector suffered about 337 breaches in the first half of
 4   2022 alone, according to Fortified Health Security’s mid-year report released in July.
 5   The percentage of healthcare breaches attributed to malicious activity rose more than
 6   five percentage points in the first six months of 2022 to account for nearly 80 percent
 7   of all reported incidents.19
 8         80.    In light of recent high profile cybersecurity incidents at other healthcare
 9   partner and provider companies, including American Medical Collection Agency (25
10   million patients, March 2019), University of Washington Medicine (974,000
11   patients, December 2018), Florida Orthopedic Institute (640,000 patients, July 2020),
12   Wolverine Solutions Group (600,000 patients, September 2018), Oregon Department
13   of Human Services (645,000 patients, March 2019), Elite Emergency Physicians
14   (550,000 patients, June 2020), Magellan Health (365,000 patients, April 2020), and
15   BJC Health System (286,876 patients, March 2020), Defendant knew or should have
16   known that its electronic records would be targeted by cybercriminals.
17         81.    Indeed, cyberattacks against the healthcare industry have been common
18   for over ten years with the FBI warning as early as 2011 that cybercriminals were
19   “advancing their abilities to attack a system remotely” and “[o]nce a system is
20   compromised, cyber criminals will use their accesses to obtain PII.” The FBI further
21   warned that that “the increasing sophistication of cyber criminals will no doubt lead
22   to an escalation in cybercrime.”20
23
     18
         2022 Breach Barometer, PROTENUS, see https://blog.protenus.com/key-
24   takeaways-from- the-2022-breach-barometer.
     19
25      Jill McKeon, Health Sector Suffered 337 Healthcare Data Breaches in First Half
     of      Year,    Cybersecurity   News      (July  19,    2022),    available   at:
26   https://healthitsecurity.com/news/health-sector-     suffered-337-healthcare-data-
27   breaches-in-first-half-of-year.
     20
        Gordon M. Snow, Statement before the House Financial Services Committee,
28   Subcommittee on Financial Institutions and Consumer Credit, FBI (Sept. 14, 2011),
                                               - 18 –

                                    CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 19 of 75 Page ID #:19



 1         82.    PHI is particularly valuable and has been referred to as a “treasure trove
 2   for criminals.”21 A cybercriminal who steals a person’s PHI can end up with as many
 3   as “seven to 10 personal identifying characteristics of an individual.”22 A study by
 4   Experian found that the “average total cost” of medical identity theft is “about
 5   $20,000” per incident in 2010, and that a majority of victims of medical identity theft
 6   were forced to pay out-of-pocket costs for healthcare they did not receive in order to
 7   restore coverage.23
 8         83.    Cyberattacks on healthcare entities like Defendant have become so
 9   notorious that the FBI and U.S. Secret Service have issued a warning to potential
10   targets, so they are aware of, and prepared for, a potential attack. As one report
11   explained, “[e]ntities like smaller municipalities and hospitals are attractive. . .
12   because they often have lesser IT defenses and a high incentive to regain access to
13   their data quickly.”24
14         84.    According to an article in the HIPAA Journal posted on October 14,
15   2022, cybercriminals hack into medical practices for their “highly prized” medical
16   records. “[T]he number of data breaches reported by HIPAA-regulated entities
17   continues to increase every year. 2021 saw 714 data breaches of 500 or more records
18   reported to the [HHS’ Office for Civil Rights] OCR – an 11% increase from the
19
     https://archives.fbi.gov/archives/news/testimony/cyber-security-threats-to-the-
20   financial-sector.
     21
21      See Andrew Steger, What Happens to Stolen Healthcare Data?, HEALTHTECH
     MAGAZINE (Oct. 30, 2019), https://healthtechmagazine.net/article/2019/10/what-
22   happens-stolen-healthcare- data-perfcon (quoting Tom Kellermann, Chief
23   Cybersecurity Officer, Carbon Black, stating “Health information is a treasure trove
     for criminals.”).
24   22
        Id.
     23
25      Elinor Mills, Study: Medical identity theft is costly for victims, CNET (Mar. 3,
     2010), https://www.cnet.com/news/privacy/study-medical-identity-theft-is-costly-
26   for-victims/.
     24
27        FBI, Secret Service Warn of Targeted, Law360 (Nov. 18, 2019),
     https://www.law360.com/articles/1220974/fbi-secret-service-warn-of-targeted-
28   ransomware.
                                              - 19 –

                                CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 20 of 75 Page ID #:20



 1   previous year. Almost three-quarters of those breaches were classified as hacking/IT
 2   incidents.” 25
 3         85.    Healthcare organizations are easy targets because “even relatively small
 4   healthcare providers may store the records of hundreds of thousands of patients. The
 5   stored data is highly detailed, including demographic data, Social Security numbers,
 6   financial information, health insurance information, and medical and clinical data,
 7   and that information can be easily monetized.”26
 8         86.    Patient records, like those stolen from City of Hope, are “often
 9   processed and packaged with other illegally obtained data to create full record sets
10   (fullz) that contain extensive information on individuals, often in intimate detail.”
11   The record sets are then sold on dark web sites to other criminals and “allows an
12   identity kit to be created, which can then be sold for considerable profit to identity
13   thieves or other criminals to support an extensive range of criminal activities.”27
14         87.    Given these facts, any company that transacts business with a consumer
15   and then compromises the privacy of consumers’ Private Information has thus
16   deprived that consumer of the full monetary value of the consumer’s transaction with
17   the company.
18         88.    In fact, according to the cybersecurity firm Mimecast, 90% of healthcare
19   organizations experienced cyberattacks in the past year.28
20         89.    City of Hope was on notice that the FBI has recently been concerned
21   about data security in the healthcare industry. In August 2014, after a cyberattack on
22   Community Health Systems, Inc., the FBI warned companies within the healthcare
23   industry that hackers were targeting them. The warning stated that “[t]he FBI has
24
     25
25      https://www.hipaajournal.com/why-do-criminals-target-medical-records.
     26
        See id.
26   27
        See id.
     28
27        See Maria Henriquez, Iowa City Hospital Suffers Phishing Attack, Security
     Magazine (Nov. 23, 2020), https://www.securitymagazine.com/articles/93988-iowa-
28   city-hospital-suffers-phishing-attack.
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                                CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 21 of 75 Page ID #:21



 1   observed malicious actors targeting healthcare related systems, perhaps for the
 2   purpose of obtaining the Protected Healthcare Information (PHI) and/or Personally
 3   Identifiable Information (PII).”29
 4         90.       The American Medical Association (“AMA”) has also warned
 5   healthcare companies about the importance of protecting their patients’ confidential
 6   information:
 7
           Cybersecurity is not just a technical issue; it’s a patient safety issue.
           AMA research has revealed that 83% of physicians work in a practice
 8         that has experienced some kind of cyberattack. Unfortunately, practices
 9         are learning that cyberattacks not only threaten the privacy and security
           of patients’ health and financial information, but also patient access to
10         care.30
11         91.       As implied by the above AMA quote, stolen Private Information can be
12   used to interrupt important medical services. This is an imminent and certainly
13   impending risk for Plaintiff and Class Members.
14         92.       The U.S. Department of Health and Human Services and the Office of
15   Consumer Rights urges the use of encryption of data containing sensitive personal
16   information. As far back as 2014, the Department fined two healthcare companies
17   approximately two million dollars for failing to encrypt laptops containing sensitive
18   personal information. In announcing the fines, Susan McAndrew, formerly OCR’s
19   deputy director of health information privacy, stated in 2014 that “[o]ur message to
20   these organizations is simple: encryption is your best defense against these
21   incidents.”31
22
     29
23      Jim Finkle, FBI Warns Healthcare Firms that they are Targeted by Hackers,
     REUTERS (Aug. 2014), https://www.reuters.com/article/us-cybersecurity-
24   healthcare-fbi/fbi-warns-healthcare-firms-they-are-targeted-by-hackers-
25   idINKBN0GK24U20140820.
     30
         Andis Robeznieks, Cybersecurity: Ransomware attacks shut down clinics,
26   hospitals, AM. MED.ASS’N (Oct 4, 2019), https://www.ama-assn.org/practice-
27   management/sustainability/cybersecurity-ransomware-attacks-shut-down-clinics-
     hospitals.
28   31
          https://www.fiercehealthcare.com/it/ocr-levies-2-million-hipaa-fines-for-stolen-
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                                 CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 22 of 75 Page ID #:22



 1         93.    As a HIPAA covered entity, City of Hope should have known about its
 2   data security vulnerabilities and implemented enhanced and adequate protection,
 3   particularly given the nature of the Private Information stored in its unprotected files.
 4         Defendant Fails to Comply with FTC Guidelines
 5         94.    The Federal Trade Commission (“FTC”) has promulgated numerous
 6   guides for businesses which highlight the importance of implementing reasonable
 7   data security practices. According to the FTC, the need for data security should factor
 8   into all business decision-making.
 9         95.    In 2016, the FTC updated its publication, Protecting Personal
10   Information: A Guide for Business, which established cyber-security guidelines for
11   businesses. The guidelines note that businesses should protect the personal customer
12   information that they keep; properly dispose of personal information that is no longer
13   needed; encrypt information stored on computer networks; understand their
14   network’s vulnerabilities; and implement policies to correct any security problems.32
15   The guidelines also recommend that businesses use an intrusion detection system to
16   expose a breach as soon as it occurs; monitor all incoming traffic for activity
17   indicating someone is attempting to hack the system; watch for large amounts of data
18   being transmitted from the system; and, have a response plan ready in the event of a
19   breach.33
20         96.    The FTC further recommends that companies not maintain PII longer
21   than necessary for authorization of a transaction; limit access to sensitive data;
22   require complex passwords to be used on networks; use industry-tested methods for
23   security; monitor for suspicious activity on the network; and verify that third-party
24   service providers have implemented reasonable security measures.
25
     laptops.
26   32
         Protecting Personal Information: A Guide for Business, Federal Trade
27   Commission (2016). Available at https://www.ftc.gov/system/files/documents/plain-
     language/pdf-0136_proteting-personal-information.pdf.
28   33
        Id.
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                                CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 23 of 75 Page ID #:23



 1         97.    The FTC has brought enforcement actions against businesses for failing
 2   to adequately and reasonably protect customer data, treating the failure to employ
 3   reasonable and appropriate measures to protect against unauthorized access to
 4   confidential consumer data as an unfair act or practice prohibited by Section 5 of the
 5   Federal Trade Commission Act (“FTCA”), 15 U.S.C. § 45. Orders resulting from
 6   these actions further clarify the measures businesses must take to meet their data
 7   security obligations.
 8         98.    These FTC enforcement actions include actions against healthcare
 9   providers and partners like Defendant. See, e.g., In the Matter of LabMD, Inc., A
10   Corp, 2016-2 Trade Cas. (CCH) ¶ 79708, 2016 WL 4128215, at *32 (MSNET July
11   28, 2016) (“[T]he Commission concludes that LabMD’s data security practices were
12   unreasonable and constitute an unfair act or practice in violation of Section 5 of the
13   FTC Act.”)
14         99.    Defendant failed to properly implement basic data security practices.
15         100. Defendant’s failure to employ reasonable and appropriate measures to
16   protect against unauthorized access to customers’ Private Information constitutes an
17   unfair act or practice prohibited by Section 5 of the FTC Act, 15 U.S.C. § 45.
18         101. Defendant was at all times fully aware of its obligation to protect the
19   Private Information of customers and patients. Defendant was also aware of the
20   significant repercussions that would result from its failure to do so.
21         City of Hope Fails to Comply with Industry Standards
22         102. As shown above, experts studying cybersecurity routinely identify
23   healthcare providers and partners as being particularly vulnerable to cyberattacks
24   because of the value of the Private Information which they collect and maintain.
25         103. Several best practices have been identified that at a minimum should be
26   implemented by healthcare providers like Defendant, including but not limited to;
27   educating all employees; strong passwords; multi-layer security, including firewalls,
28   anti-virus, and anti-malware software; encryption, making data unreadable without a
                                               - 23 –

                                CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 24 of 75 Page ID #:24



 1   key; multi-factor authentication; backup data; and limiting which employees can
 2   access sensitive data.
 3         104. Other best cybersecurity practices that are standard in the healthcare
 4   industry include installing appropriate malware detection software; monitoring and
 5   limiting the network ports; protecting web browsers and email management systems;
 6   setting up network systems such as firewalls, switches and routers; monitoring and
 7   protection of physical security systems; protection against any possible
 8   communication system; training staff regarding critical points.
 9         105. Defendant failed to meet the minimum standards of any of the following
10   frameworks: the NIST Cybersecurity Framework Version 1.1 (including without
11   limitation PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-1,
12   PR.DS-1, PR.DS-5, PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8,
13   and RS.CO-2), and the Center for Internet Security’s Critical Security Controls (CIS
14   CSC), which are all established standards in reasonable cybersecurity readiness.
15         106. These foregoing frameworks are existing and applicable industry
16   standards in the healthcare industry, and Defendant failed to comply with these
17   accepted standards, thereby opening the door to the cyber incident and causing the
18   data breach.
19
           City of Hope’s Conduct Violates HIPAA Obligations to Safeguard Private
           Information
20
           107. As a medical services provider, City of Hope is a covered entity under
21
     HIPAA (45 C.F.R. § 160.102) and is required to comply with the HIPAA Privacy
22
     Rule and Security Rule, 45 C.F.R. Part 160 and Part 164, Subparts A and E
23
     (“Standards for Privacy of Individually Identifiable Health Information”), and
24
     Security Rule (“Security Standards for the Protection of Electronic Protected Health
25
     Information”), 45 C.F.R. Part 160 and Part 164, Subparts A and C.
26
           108. HIPAA requires covered entities to protect against reasonably
27
     anticipated threats to the security of sensitive patient health information.
28
                                               - 24 –

                                CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 25 of 75 Page ID #:25



 1         109. City of Hope is subject to the rules and regulations for safeguarding
 2   electronic forms of medical information pursuant to the Health Information
 3   Technology Act (“HITECH”).5 See 42 U.S.C. §17921, 45 C.F.R. § 160.103.
 4         110. HIPAA’s Privacy Rule or Standards for Privacy of Individually
 5   Identifiable Health Information establishes national standards for the protection of
 6   health information that is kept or transferred in electronic form.
 7         111. Covered      entities   must   implement     safeguards   to   ensure   the
 8   confidentiality, integrity, and availability of PHI. Safeguards must include physical,
 9   technical, and administrative components.
10         112. Title II of HIPAA contains what are known as the Administrative
11   Simplification provisions. 42 U.S.C. §§ 1301, et seq. These provisions require,
12   among other things, that the Department of Health and Human Services (“HHS”)
13   create rules to streamline the standards for handling PII like the data Defendant left
14   unguarded. The HHS subsequently promulgated multiple regulations under authority
15   of the Administrative Simplification provisions of HIPAA. These rules include 45
16   C.F.R. § 164.306(a)(1-4); 45 C.F.R. § 164.312(a)(1); 45 C.F.R. § 164.308(a)(1)(i);
17   45 C.F.R. § 164.308(a)(1)(ii)(D), and 45 C.F.R. § 164.530(b).
18         113. A Data Breach such as the one Defendant experienced, is considered a
19   breach under the HIPAA Rules because there is an access of PHI not permitted under
20   the HIPAA Privacy Rule:
21
           A breach under the HIPAA Rules is defined as, “...the acquisition,
           access, use, or disclosure of PHI in a manner not permitted under the
22         [HIPAA Privacy Rule] which compromises the security or privacy of
23         the PHI.” See 45 C.F.R. 164.40.
           114. The Data Breach resulted from a combination of insufficiencies that
24
     demonstrate City of Hope failed to comply with safeguards mandated by HIPAA
25
     regulations.
26

27

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                                               - 25 –

                                CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 26 of 75 Page ID #:26



 1         Cyberattacks and Data Breaches Cause Disruption and Put Consumers at
 2         an Increased Risk of Fraud and Identity Theft

 3
           115. Cyberattacks and data breaches at healthcare companies and partner

 4
     companies like Defendant are especially problematic because they can negatively

 5
     impact the overall daily lives of individuals affected by the attack.

 6
           116. Researchers have found that among medical service providers that

 7
     experience a data security incident, the death rate among patients increased in the

 8
     months and years after the attack.34

 9
           117. Researchers have further found that at medical service providers that

10
     experienced a data security incident, the incident was associated with deterioration

11
     in timeliness and patient outcomes, generally.35

12
           118. The United States Government Accountability Office released a report

13
     in 2007 regarding data breaches (“GAO Report”) in which it noted that victims of

14
     identity theft face “substantial costs and time to repair the damage to their good name

15
     and credit record.”36

16
           119. That is because any victim of a data breach is exposed to serious

17
     ramifications regardless of the nature of the data. Indeed, the reason criminals steal

18
     personally identifiable information is to monetize it by selling the spoils of their

19
     cyberattacks on the black market to identity thieves who desire to extort and harass

20
     victims, take over victims’ identities in order to engage in illegal financial

21   34
        See Nsikan Akpan, Ransomware and Data Breaches Linked to Uptick in Fatal
22   Heart            Attacks,           PBS          (Oct.         24,          2019),
23   https://www.pbs.org/newshour/science/ransomware-and-other-data-breaches-
     linked-to-uptick-in-fatal-heart-attacks.
24   35
        See Sung J. Choi et al., Data Breach Remediation Efforts and Their Implications
25   for Hospital Quality, 54 Health Services Research 971, 971-980 (2019). Available at
     https://onlinelibrary.wiley.com/doi/full/10.1111/1475-6773.13203.
26   36
        See U.S. Gov. Accounting Office, GAO-07-737, Personal Information: Data
27   Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited;
     However, the          Full   Extent      Is  Unknown     (2007). Available       at
28   https://www.gao.gov/new.items/d07737.pdf.
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                                CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 27 of 75 Page ID #:27



 1   transactions under the victims’ names. Because a person’s identity is akin to a puzzle,
 2   the more accurate pieces of data an identity thief obtains about a person, the easier it
 3   is for the thief to take on the victim’s identity, or otherwise harass or track the victim.
 4   For example, armed with just a name and date of birth, a data thief can utilize a
 5   hacking technique referred to as “social engineering” to obtain even more
 6   information about a victim’s identity, such as a person’s login credentials or Social
 7   Security number. Social engineering is a form of hacking whereby a data thief uses
 8   previously acquired information to manipulate individuals into disclosing additional
 9   confidential or personal information through means such as spam phone calls and
10   text messages or phishing emails.
11         120. The FTC recommends that identity theft victims take several steps to
12   protect their personal and financial information after a data breach, including
13   contacting one of the credit bureaus to place a fraud alert (consider an extended fraud
14   alert that lasts for seven years if someone steals their identity), reviewing their credit
15   reports, contacting companies to remove fraudulent charges from their accounts,
16   placing a credit freeze on their credit, and correcting their credit reports.37
17         121. Identity thieves use stolen personal information such as Social Security
18   numbers for a variety of crimes, including credit card fraud, phone or utilities fraud,
19   and bank/finance fraud.
20         122. Identity thieves can also use Social Security numbers to obtain a driver’s
21   license or official identification card in the victim’s name but with the thief’s picture;
22   use the victim’s name and Social Security number to obtain government benefits; or
23   file a fraudulent tax return using the victim’s information. In addition, identity thieves
24   may obtain a job using the victim’s Social Security number, rent a house or receive
25   medical services in the victim’s name, and may even give the victim’s personal
26

27
     37
              See       IdentityTheft.gov,          Federal        Trade         Commission,
28   https://www.identitytheft.gov/Steps.
                                                - 27 –

                                 CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 28 of 75 Page ID #:28



 1   information to police during an arrest resulting in an arrest warrant being issued in
 2   the victim’s name.
 3         123. Moreover, theft of Private Information is also gravely serious because
 4   Private Information is an extremely valuable property right.38
 5         124. Its value is axiomatic, considering the value of “big data” in corporate
 6   America and the fact that the consequences of cyber thefts include heavy prison
 7   sentences. Even this obvious risk to reward analysis illustrates beyond doubt that
 8   Private Information has considerable market value.
 9         125. It must also be noted there may be a substantial time lag – measured in
10   years -- between when harm occurs and when it is discovered, and also between when
11   Private Information and/or financial information is stolen and when it is used.
12         126. According to the U.S. Government Accountability Office, which
13   conducted a study regarding data breaches:
14
          [L]aw enforcement officials told us that in some cases, stolen data may be held
          for up to a year or more before being used to commit identity theft. Further,
15        once stolen data have been sold or posted on the Web, fraudulent use of that
16        information may continue for years. As a result, studies that attempt to measure
          the harm resulting from data breaches cannot necessarily rule out all future
17        harm.
18         See GAO Report, at p. 29.
19         127. Private Information is such a valuable commodity to identity thieves that
20   once the information has been compromised, criminals often trade the information
21   on the “cyber black-market” for years.
22         128. There is a strong probability that entire batches of stolen information
23   have been dumped on the black market and are yet to be dumped on the black market,
24

25
     38
        See, e.g., John T. Soma, et al, Corporate Privacy Trend: The “Value” of Personally
26   Identifiable Information (“PII”) Equals the “Value" of Financial Assets, 15 Rich.
27   J.L. & Tech. 11, at *3-4 (2009) (“PII, which companies obtain at little cost, has
     quantifiable value that is rapidly reaching a level comparable to the value of
28   traditional financial assets.”) (citations omitted).
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                               CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 29 of 75 Page ID #:29



 1   meaning Plaintiff and Class Members are at an increased risk of fraud and identity
 2   theft for many years into the future.
 3            129. Thus, Plaintiff and Class Members must vigilantly monitor their
 4   financial and medical accounts for many years to come.
 5            130. Private Information can sell for as much as $363 per record according
 6   to the Infosec Institute.39 Private Information is particularly valuable because
 7   criminals can use it to target victims with frauds and scams. Once Private Information
 8   is stolen, fraudulent use of that information and damage to victims may continue for
 9   years.
10            131. For example, the Social Security Administration has warned that
11   identity thieves can use an individual’s Social Security number to apply for additional
12   credit lines.40 Such fraud may go undetected until debt collection calls commence
13   months, or even years, later. Stolen Social Security Numbers also make it possible
14   for thieves to file fraudulent tax returns, file for unemployment benefits, or apply for
15   a job using a false identity.41 Each of these fraudulent activities is difficult to detect.
16   An individual may not know that his or his Social Security Number was used to file
17   for unemployment benefits until law enforcement notifies the individual’s employer
18   of the suspected fraud. Fraudulent tax returns are typically discovered only when an
19   individual’s authentic tax return is rejected.
20            132. Moreover, it is not an easy task to change or cancel a stolen Social
21   Security number.
22            133. An individual cannot obtain a new Social Security number without
23   significant paperwork and evidence of actual misuse. Even then, a new Social
24
     39
25      See Ashiq Ja, Hackers Selling Healthcare Data in the Black Market, InfoSec (July
     27, 2015), https://resources.infosecinstitute.com/topic/hackers-selling-healthcare-
26   data-in-the-black-market/.
     40
27      Identity Theft and Your Social Security Number, Social Security Administration
     (2018). Available at https://www.ssa.gov/pubs/EN-05-10064.pdf.
28   41
        Id.
                                                - 29 –

                                 CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 30 of 75 Page ID #:30



 1   Security number may not be effective, as “[t]he credit bureaus and banks are able to
 2   link the new number very quickly to the old number, so all of that old bad information
 3   is quickly inherited into the new Social Security number.”42
 4         134. This data, as one would expect, demands a much higher price on the
 5   black market. Martin Walter, senior director at cybersecurity firm RedSeal,
 6   explained, “[c]ompared to credit card information, personally identifiable
 7   information and Social Security Numbers are worth more than 10x on the black
 8   market.”43
 9         135. Medical information is especially valuable to identity thieves.
10         136. Theft of PHI, in particular, is gravely serious: “[a] thief may use your
11   name or health insurance numbers to see a doctor, get prescription drugs, file claims
12   with your insurance provider, or get other care. If the thief’s health information is
13   mixed with yours, your treatment, insurance and payment records, and credit report
14   may be affected.”44
15         137. Drug manufacturers, medical device manufacturers, pharmacies,
16   hospitals, and other healthcare service providers often purchase PHI on the black
17   market for the purpose of target marketing their products and services to the physical
18   maladies of the data breach victims themselves. Insurance companies purchase and
19   use wrongfully disclosed PHI to adjust their insureds’ medical insurance premiums.
20         138. According to account monitoring company LogDog, coveted Social
21   Security numbers were selling on the dark web for just $1 in 2016 – the same as a
22
     42
23      Brian Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce
     Back, NPR (Feb. 9, 2015), http://www.npr.org/2015/02/09/384875839/data-stolen-
24   by-anthem-s-hackers-has-millions-worrying-about-identity-theft.
     43
25      Tim Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen
     Credit     Card      Numbers,       Computer      World     (Feb.      6,    2015),
26   http://www.itworld.com/article/2880960/anthem-hack-personal-data-stolen-sells-
27   for-10x-price-of-stolen-credit-card-numbers.html.
     44
            See    Federal     Trade      Commission,     Medical       Identity   Theft,
28   http://www.consumer.ftc.gov/articles/0171-medical-identity-theft.
                                              - 30 –

                               CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 31 of 75 Page ID #:31



 1   Facebook account.45 That pales in comparison with the asking price for medical data,
 2   which was selling for $50 and up.46
 3         139. Because of the value of its collected and stored data, the medical
 4   industry has experienced disproportionally higher numbers of data theft events than
 5   other industries.
 6         140. For this reason, Defendant knew or should have known about these
 7   dangers and strengthened its data and email handling systems accordingly. Defendant
 8   was on notice of the substantial and foreseeable risk of harm from a data breach, yet
 9   City of Hope failed to properly prepare for that risk.
10         141. Defendant breached its obligations to Plaintiff and Class Members
11   and/or was otherwise negligent and reckless because it failed to properly maintain
12   and safeguard its computer systems and data. Defendant’sunlawful conduct includes,
13   but is not limited to, the following acts and/or omissions:
14             a. Failing to maintain an adequate data security system to reduce the risk
15                of data breaches and cyber-attacks;
16             b. Failing to adequately protect patients’ and customers’ Private
17                Information;
18             c. Failing to properly monitor its own data security systems for existing
19                intrusions;
20             d. Failing to ensure that its vendors with access to its computer systems
21                and data employed reasonable security procedures;
22             e. Failing to train its employees in the proper handling of emails containing
23                Private Information and maintain adequate email security practices;
24
     45
25      See Omri Toppol, Email Security: How You Are Doing It Wrong & Paying Too
     Much, LogDog (Feb. 14, 2016), https://getlogdog.com/blogdog/email-security-you-
26   are-doing-it-wrong.
     46
27      Lisa Vaas, Ransomware Attacks Paralyze, and Sometimes Crush, Hospitals, Naked
     Security (Oct. 3, 2019), https://nakedsecurity.sophos.com/2019/10/03/ransomware-
28   attacks-paralyze-and-sometimes-crush-hospitals/#content.
                                              - 31 –

                                 CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 32 of 75 Page ID #:32



 1            f. Failing to ensure the confidentiality and integrity of electronic PHI it
 2               created, received, maintained, and/or transmitted, in violation of 45
 3               C.F.R. § 164.306(a)(1);
 4            g. Failing to implement technical policies and procedures for electronic
 5               information systems that maintain electronic PHI to allow access only
 6               to those persons or software programs that have been granted access
 7               rights in violation of 45 C.F.R. § 164.312(a)(1);
 8            h. Failing to implement policies and procedures to prevent, detect, contain,
 9               and correct security violations in violation of 45 C.F.R. §
10               164.308(a)(1)(i);
11            i. Failing to implement procedures to review records of information
12               system activity regularly, such as audit logs, access reports, and security
13               incident    tracking    reports   in   violation    of   45    C.F.R.    §
14               164.308(a)(1)(ii)(D);
15            j. Failing to protect against reasonably anticipated threats or hazards to the
16               security or integrity of electronic PHI in violation of 45 C.F.R. §
17               164.306(a)(2);
18            k. Failing to protect against reasonably anticipated uses or disclosures of
19               electronic PHI that are not permitted under the privacy rules regarding
20               individually identifiable health information in violation of 45 C.F.R. §
21               164.306(a)(3);
22            l. Failing to ensure compliance with HIPAA security standard rules by its
23               workforces in violation of 45 C.F.R. § 164.306(a)(4);
24            m. Failing to train all members of its workforces effectively on the policies
25               and procedures regarding PHI as necessary and appropriate for the
26               members of its workforces to carry out their functions and to maintain
27               security of PHI, in violation of 45 C.F.R. § 164.530(b);
28
                                              - 32 –

                               CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 33 of 75 Page ID #:33



 1            n. Failing to render the electronic PHI it maintained unusable, unreadable,
 2               or indecipherable to unauthorized individuals, as it had not encrypted
 3               the electronic PHI as specified in the HIPAA Security Rule by “the use
 4               of an algorithmic process to transform data into a form in which there is
 5               a low probability of assigning meaning without use of a confidential
 6               process or key” (45 CFR § 164.304’s definition of “encryption”);
 7            o. Failing to comply with FTC guidelines for cybersecurity, in violation of
 8               Section 5 of the FTC Act;
 9            p. Failing to adhere to industry standards for cybersecurity as discussed
10               above; and
11            q. Otherwise breaching its duties and obligations to protect Plaintiff’s and
12               Class Members’ Private Information.
13         142. Defendant negligently and unlawfully failed to safeguard Plaintiff’s and
14   Class Members’ Private Information by allowing cyberthieves to access City of
15   Hope’ computer network and systems which contained unsecured and unencrypted
16   Private Information.
17         143. Accordingly, as outlined below, Plaintiff and Class Members now face
18   an increased risk of fraud and identity theft. In addition, Plaintiff and the Class
19   Members also lost the benefit of the bargain they made with Defendant.
20
         Defendant’s Response to the Data Breach is Inadequate to Protect Plaintiff
         and the Class
21
           144. Defendant failed to inform Plaintiff and Class Members of the Data
22
     Breach in time for them to protect themselves from identity theft.
23
           145. Defendant stated that the Data Breach occurred between September 19,
24
     2023, and October 12, 2023. However, Defendant did not start notifying affected
25
     individuals until at least December 2023. Even then, Defendant provided only vague
26
     information. As a result, Plaintiff and Class Members are unsure as to the scope of
27
     information that was compromised and the risks they face.
28
                                             - 33 –

                               CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 34 of 75 Page ID #:34



 1          146. Defendant’s failure to timely notify the victims of its Data Breach meant
 2   that Plaintiff and Class Members were unable to take affirmative measures to prevent
 3   or mitigate the resulting harm.
 4          Plaintiff’s and Class Members’ Damages
 5          147. Given the sensitivity of the Private Information involved in this Data
 6   Breach, Plaintiff and Class Members have all suffered damages and will face a
 7   substantial risk of additional injuries for the rest of their lives. Yet, to date, Defendant
 8   has merely offered to provide certain victims of the Data Breach with limited,
 9   abbreviated subscriptions to identity monitoring services. This does nothing to
10   compensate Plaintiff or Class Members for many of the injuries they have already
11   suffered. Nor will it prevent additional harm from befalling Plaintiff and Class
12   Members as a result of the Data Breach. And at the conclusion of these limited
13   subscriptions, victims will be required to pay for such services out of their own
14   pocket.
15          148. Plaintiff and Class Members have been damaged by the compromise of
16   their Private Information in the Data Breach.
17          149. Plaintiff’s and Class Members’ Private Information were all
18   compromised in the Data Breach and are now in the hands of the cybercriminals who
19   accessed Defendant’s computer system.
20          150. Since being notified of the Data Breach, Plaintiff Sjodin has spent time
21   dealing with the impact of the Data Breach, valuable time Plaintiff Sjodin otherwise
22   would have spent on other activities, including but not limited to work and/or
23   recreation.
24          151. Due to the Data Breach, Plaintiff anticipates spending considerable time
25   and money on an ongoing basis to try to mitigate and address harms caused by the
26   Data Breach. This includes changing passwords, cancelling credit and debit cards,
27   and monitoring his accounts for fraudulent activity.
28
                                                 - 34 –

                                 CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 35 of 75 Page ID #:35



 1          152. Plaintiff’s and Class Members’ Private Information was compromised
 2   as a direct and proximate result of the Data Breach.
 3          153. As a direct and proximate result of Defendant’ conduct, Plaintiff and
 4   Class Members have been placed at a present, imminent, immediate, and continuing
 5   increased risk of harm from fraud and identity theft.
 6          154. As a direct and proximate result of Defendant’s conduct, Plaintiff and
 7   Class Members have been forced to spend time dealing with the effects of the Data
 8   Breach.
 9          155. Plaintiff and Class Members face substantial risk of out-of-pocket fraud
10   losses such as loans opened in their names, medical services billed in their names,
11   tax return fraud, utility bills opened in their names, credit card fraud, and similar
12   identity theft.
13          156. Plaintiff and Class Members face substantial risk of being targeted for
14   future phishing, data intrusion, and other illegal schemes based on their Private
15   Information as potential fraudsters could use that information to more effectively
16   target such schemes to Plaintiff and Class Members.
17          157. Plaintiff and Class Members may also incur out-of-pocket costs for
18   protective measures such as credit monitoring fees, credit report fees, credit freeze
19   fees, and similar costs directly or indirectly related to the Data Breach.
20          158. Plaintiff and Class Members also suffered a loss of value of their Private
21   Information when it was acquired by cyber thieves in the Data Breach. Numerous
22   courts have recognized the propriety of loss of value damages in related cases.
23          159. Plaintiff and Class Members were also damaged via benefit-of-the-
24   bargain damages. Plaintiff and Class Members overpaid for a service that was
25   intended to be accompanied by adequate data security that complied with industry
26   standards but was not. Part of the price Plaintiff and Class Members paid to
27   Defendant was intended to be used by Defendant to fund adequate security of City
28   of Hope’ computer system(s) and Plaintiff’s and Class Members’ Private
                                               - 35 –

                                CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 36 of 75 Page ID #:36



 1   Information. Thus, Plaintiff and the Class Members did not get what they paid for
 2   and agreed to.
 3         160. Plaintiff and Class Members have spent and will continue to spend
 4   significant amounts of time to monitor their medical accounts and sensitive
 5   information for misuse.
 6         161. Plaintiff and Class Members have suffered or will suffer actual injury as
 7   a direct result of the Data Breach. Many victims suffered ascertainable losses in the
 8   form of out-of-pocket expenses and the value of their time reasonably incurred to
 9   remedy or mitigate the effects of the Data Breach relating to:
10            a. Reviewing and monitoring sensitive accounts and finding fraudulent
11                insurance claims, loans, and/or government benefits claims;
12            b. Purchasing credit monitoring and identity theft prevention;
13            c. Placing “freezes” and “alerts” with reporting agencies;
14            d. Spending time on the phone with or at financial institutions, healthcare
15                providers, and/or government agencies to dispute unauthorized and
16                fraudulent activity in their name;
17            e. Contacting financial institutions and closing or modifying financial
18                accounts; and
19            f. Closely reviewing and monitoring Social Security Number, medical
20                insurance accounts, bank accounts, and credit reports for unauthorized
21                activity for the rest of their lives.
22         162. Moreover, Plaintiff and Class Members have an interest in ensuring that
23   their Private Information, which is believed to remain in the possession of Defendant,
24   is protected from further breaches by the implementation of security measures and
25   safeguards, including but not limited to, making sure that the storage of data or
26   documents containing Private Information is not accessible online and that access to
27   such data is password protected.
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                                                 - 36 –

                                CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 37 of 75 Page ID #:37



 1            163. Further, as a result of Defendant’s conduct, Plaintiff and Class Members
 2   are forced to live with the anxiety that their Private Information—which contains the
 3   most intimate details about a person’s life, including what ailments they suffer,
 4   whether physical or mental—may be disclosed to the entire world, thereby subjecting
 5   them to embarrassment and depriving them of any right to privacy whatsoever.
 6            164. As a direct and proximate result of Defendant’s actions and inactions,
 7   Plaintiff and Class Members have suffered anxiety, emotional distress, loss of time,
 8   loss of privacy, and are at an increased risk of future harm.
 9   Plaintiff Sjodin’s Individual Experience
10            165. At the time of the Data Breach, Defendant retained Plaintiff Sjodin’s
11   Private Information in its system.
12            166. Plaintiff Sjodin was sent a Notice Letter dated April 2, 2024, informing
13   him that Defendant experienced a Data Breach and that Plaintiff’s Private
14   Information, including his name, contact information (e.g., email address, phone
15   number), date of birth, social security number, driver’s license or other government
16   identification, financial details (e.g., bank account number and/or credit card details),
17   health insurance information, medical records and information about medical history
18   and/or associated conditions, and/ or unique identifiers to associate individuals with
19   City of Hope (e.g., medical record number) were compromised in the Data Breach.47
20            167. As a result of the Data Breach, Plaintiff Sjodin already spent eleven (11)
21   hours dealing with the consequences of the Data Breach, which includes verifying
22   the legitimacy of the Notice of Data Breach, researching credit monitoring and
23   identity theft protection services, enrolling in credit monitoring services, and self-
24   monitoring his accounts and/or credit reports to ensure no fraudulent activity has
25   occurred. This time has been lost forever and cannot be recaptured. He has also spent
26   a significant amount of time dealing with spam communications he has begun to
27

28   47
          See Ex. 1.
                                                - 37 –

                                  CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 38 of 75 Page ID #:38



 1   receive as a result of the Data Breach. This time was spent at Defendant’s direction
 2   by way of the Notice Letter where Defendant advised Plaintiff Sjodin to remain
 3   vigilant for incidents of identity theft, and to mitigate his damages by, among other
 4   things, monitoring his accounts for fraudulent activity.
 5         168. Plaintiff Sjodin is a cautious person and is therefore very careful about
 6   sharing his sensitive Private Information. As a result, he has never knowingly
 7   transmitted unencrypted sensitive Private Information over the internet or any other
 8   unsecured source. Plaintiff Sjodin stores any documents containing his Private
 9   Information in a safe and secure location or destroys the documents.
10         169. The Data Breach caused Plaintiff Sjodin to suffer a loss of privacy.
11         170. The Data Breach has caused Plaintiff Sjodin to suffer imminent and
12   impending injury arising from the substantially increased risk of future fraud, identity
13   theft, and misuse resulting from his Private Information being placed in the hands of
14   criminals and likely exploited on the Dark Web.
15         171. The loss of privacy and substantial present risk of imminent harm have
16   caused Plaintiff Sjodin to suffer stress, fear, and anxiety as Plaintiff Sjodin is very
17   concerned that his sensitive Private Information is now in the hands of data thieves
18   and shall remain that way for the remainder of his lifetime and there is nothing
19   Plaintiff Sjodin can do to retrieve his stolen Private Information from the
20   cybercriminals.
21         172. Given the time Plaintiff Sjodin has lost investigating this data breach,
22   taking steps to understand its full scope, determining the appropriate remedial steps,
23   contacting counsel, etc., coupled with Plaintiff Sjodin’s resultant and naturally
24   foreseeable fears/concerns for the use of Plaintiff Sjodin’s valuable Private
25   Information, the damages articulated more specifically above are far from the full
26   extent of the harm thereto.
27

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                                               - 38 –

                                CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 39 of 75 Page ID #:39



 1                           CLASS ACTION ALLEGATIONS
 2         173. Plaintiff brings this nationwide class action on behalf of himself and on
 3   behalf of all other similarly situated pursuant to Rule 23(b)(2), 23(b)(3), and 23(c)(4)
 4   of the Federal Rules of Civil Procedure.
 5         174. The Nationwide Class that Plaintiff seeks to represent is defined as
 6   follows:
 7         Nationwide Class: All persons in the United States whose PII and/or
 8         PHI was compromised in or as a result of Defendant’s Data Breach that
 9         occurred on or around September 19, 2023 through October 12, 2023.
10         175. In addition, Plaintiff Sjodin also seeks to represent the following
11   Subclass:
12         California Subclass: All persons residing in California whose PII
13         and/or PHI was compromised in or as a result of Defendant’s Data
14         Breach that occurred on or around September 19, 2023 through October
15         12, 2023.
16         176. The Nationwide Class, together with the Subclass, are collectively
17   referred to herein as the “Classes” or the “Class.”
18         177. Excluded from the Classes are the following individuals and/or entities:
19   Defendant and Defendant’s parents, subsidiaries, affiliates, officers and directors,
20   and any entity in which Defendant has a controlling interest; all individuals who
21   make a timely election to be excluded from this proceeding using the correct protocol
22   for opting out; any and all federal, state or local governments, including but not
23   limited to their departments, agencies, divisions, bureaus, boards, sections, groups,
24   counsels and/or subdivisions; and all judges assigned to hear any aspect of this
25   litigation, as well as their immediate family members.
26         178. Plaintiff reserves the right to modify or amend the definition of the
27   proposed classes before the Court determines whether certification is appropriate.
28
                                                - 39 –

                                CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 40 of 75 Page ID #:40



 1         179. This action has been brought and may be maintained as a class action
 2   under Rule 23 because there is a well-defined community of interest in the litigation
 3   and the proposed classes are ascertainable, as described further below:
 4            a. Numerosity, Fed R. Civ. P. 23(a)(1): Class Members are so numerous
 5               that joinder of all members is impracticable. Upon information and
 6               belief, there are at least 800,000 who were impacted by the Data Breach.
 7               The identities of Class Members are ascertainable through Defendant’s
 8               records, Class Members’ records, publication notice, self-identification,
 9               and other means.
10            b. Commonality, Fed. R. Civ. P. 23(a)(2) and (b)(3): Questions of law and
11               fact common to the Classes exist and predominate over any questions
12               affecting only individual Class Members. These include:
13                     i.   Whether and to what extent Defendant had a duty to protect the
14                          Private Information of Plaintiff and Class Members;
15                    ii.   Whether Defendant had duties not to disclose the Private
16                          Information of Plaintiff and Class Members to unauthorized
17                          third parties;
18                   iii.   Whether Defendant had duties not to use the Private
19                          Information of Plaintiff and Class Members for non-business
20                          purposes;
21                   iv.    Whether Defendant failed to adequately safeguard the Private
22                          Information of Plaintiff and Class Members;
23                    v.    Whether and when Defendant actually learned of the Data
24                          Breach;
25                   vi.    Whether Defendant adequately, promptly, and accurately
26                          informed Plaintiff and Class Members that their Private
27                          Information had been compromised;
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                                              - 40 –

                                CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 41 of 75 Page ID #:41



 1                  vii.   Whether Defendant violated the law by failing to promptly
 2                         notify Plaintiff and Class Members that their Private
 3                         Information had been compromised;
 4                 viii.   Whether Defendant failed to implement and maintain
 5                         reasonable security procedures and practices appropriate to the
 6                         nature and scope of the information compromised in the Data
 7                         Breach;
 8                   ix.   Whether Defendant adequately addressed and fixed the
 9                         vulnerabilities which permitted the Data Breach to occur;
10                   x.    Whether Defendant engaged in unfair, unlawful, or deceptive
11                         practices by failing to safeguard the Private Information of
12                         Plaintiff and Class Members;
13                   xi.   Whether Defendant violated the consumer protection statutes
14                         invoked herein;
15                  xii.   Whether Plaintiff and Class Members are entitled to actual,
16                         consequential, and/or nominal damages as a result of
17                         Defendant’s wrongful conduct;
18                 xiii.   Whether Plaintiff and Class Members are entitled to restitution
19                         as a result of Defendant’s wrongful conduct; and
20                 xiv.    Whether Plaintiff and Class Members are entitled to injunctive
21                         relief to redress the imminent and currently ongoing harm
22                         faced as a result of the Data Breach.
23            c. Typicality, Fed. R. Civ. P. 23(a)(3): Plaintiff’s claims are typical of
24               those of other Class Members because all had their Private Information
25               compromised as a result of the Data Breach, due to Defendant’s
26               misfeasance.
27            d. Adequacy, Fed. R. Civ. P. 23(a)(4): Plaintiff will fairly and adequately
28               represent and protect the interests of the Class Members in that Plaintiff
                                              - 41 –

                                CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 42 of 75 Page ID #:42



 1                has no disabling conflicts of interest that would be antagonistic to those
 2                of the other Members of the Class. Plaintiff seeks no relief that is
 3                antagonistic or adverse to the Members of the Class and the
 4                infringement of the rights and the damages Plaintiff has suffered are
 5                typical of other Class Members. Plaintiff has also retained counsel
 6                experienced in complex class action litigation, and Plaintiff intends to
 7                prosecute this action vigorously.
 8             e. Superiority and Manageability, Fed. R. Civ. P. 23(b)(3): Class litigation
 9                is an appropriate method for fair and efficient adjudication of the claims
10                involved. Class action treatment is superior to all other available
11                methods for the fair and efficient adjudication of the controversy alleged
12                herein; it will permit a large number of Class Members to prosecute their
13                common claims in a single forum simultaneously, efficiently, and
14                without the unnecessary duplication of evidence, effort, and expense
15                that hundreds of individual actions would require. Class action treatment
16                will permit the adjudication of relatively modest claims by certain Class
17                Members, who could not individually afford to litigate a complex claim
18                against large corporations, like Defendant. Further, even for those Class
19                Members who could afford to litigate such a claim, it would still be
20                economically impractical and impose a burden on the courts.
21         180. This class action is also appropriate for certification because Defendant
22   has acted or refused to act on grounds generally applicable to the Class, thereby
23   requiring the Court’s imposition of uniform relief to ensure compatible standards of
24   conduct toward the Class Members and making final injunctive relief appropriate
25   with respect to the Class as a whole. Defendant’s policies challenged herein apply to
26   and affect Class Members uniformly and Plaintiff’s challenge of these policies hinges
27   on Defendant’s conduct with respect to the Class as a whole, not on facts or law
28   applicable only to Plaintiff.
                                              - 42 –

                                CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 43 of 75 Page ID #:43



 1         181. The nature of this action and the nature of laws available to Plaintiff and
 2   Class Members make the use of the class action device a particularly efficient and
 3   appropriate procedure to afford relief to Plaintiff and Class Members for the wrongs
 4   alleged because Defendant would necessarily gain an unconscionable advantage
 5   since they would be able to exploit and overwhelm the limited resources of each
 6   individual Class Member with superior financial and legal resources; the costs of
 7   individual suits could unreasonably consume the amounts that would be recovered;
 8   proof of a common course of conduct to which Plaintiff was exposed is representative
 9   of that experienced by the Class and will establish the right of each Class Member to
10   recover on the cause of action alleged; and individual actions would create a risk of
11   inconsistent results and would be unnecessary and duplicative of this litigation.
12         182. The litigation of the claims brought herein is manageable. Defendant’s
13   uniform conduct, the consistent provisions of the relevant laws, and the ascertainable
14   identities of Class Members demonstrate that there would be no significant
15   manageability problems with prosecuting this lawsuit as a class action.
16         183. Adequate notice can be given to Class Members directly using
17   information maintained in Defendant’s records. Among other means, potential notice
18   to class members of this class action can be accomplished via United States mail to
19   all individuals who received a copy of the September 29, 2023, data breach notice
20   letter and/or through electronic mail and/or through publication.
21         184. Unless a Class-wide injunction is issued, Defendant may continue in its
22   failure to properly secure the Private Information of Class Members, Defendant may
23   continue to refuse to provide proper notification to Class Members regarding the Data
24   Breach, and Defendant may continue to act unlawfully as set forth in this Complaint.
25         185. Further, Defendant has acted or refused to act on grounds generally
26   applicable to the Classes and, accordingly, final injunctive or corresponding
27   declaratory relief with regard to the Class Members as a whole is appropriate under
28   Rule 23(b)(2) of the Federal Rules of Civil Procedure.
                                              - 43 –

                               CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 44 of 75 Page ID #:44



 1         186. Likewise, particular issues under Rule 23(c)(4) are appropriate for
 2   certification because such claims present only particular, common issues, the
 3   resolution of which would advance the disposition of this matter and the parties’
 4   interests therein. Such particular issues include, but are not limited to:
 5             a. Whether Defendant owed a legal duty to Plaintiff and Class Members
 6                to exercise due care in collecting, storing, using, and safeguarding their
 7                Private Information;
 8             b. Whether Defendant breached a legal duty to Plaintiff and Class
 9                Members to exercise due care in collecting, storing, using, and
10                safeguarding their Private Information;
11             c. Whether Defendant failed to comply with its own policies and
12                applicable laws, regulations, and industry standards relating to data
13                security;
14             d. Whether an implied contract existed between Defendant on the one
15                hand, and Plaintiff and Class Members on the other, and the terms of
16                that implied contract;
17             e. Whether Defendant breached the implied contract;
18             f. Whether Defendant adequately and accurately informed Plaintiff and
19                Class Members that their Private Information had been compromised;
20             g. Whether Defendant failed to implement and maintain reasonable
21                security procedures and practices appropriate to the nature and scope of
22                the information compromised in the Data Breach;
23             h. Whether Defendant engaged in unfair, unlawful, or deceptive practices
24                by failing to safeguard the Private Information of Plaintiff and Class
25                Members;
26             i. Whether Class Members are entitled to actual, consequential, and/or
27                nominal damages, and/or injunctive relief as a result of Defendant’s
28                wrongful conduct.
                                               - 44 –

                                CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 45 of 75 Page ID #:45



 1                               CAUSES OF ACTION
 2
                                        COUNT I
                                        Negligence
 3                   (On Behalf of Plaintiff and the Nationwide Class)
 4
           187. Plaintiff re-alleges and incorporates by reference herein all of the
 5
     allegations contained in 1 through 186.
 6
           188. Plaintiff and the Class entrusted Defendant with their Private
 7
     Information.
 8
           189. Plaintiff and the Class entrusted their Private Information to Defendant
 9
     on the premise and with the understanding that Defendant would safeguard their
10
     information, use their Private Information for business purposes only, and/or not
11
     disclose their Private Information to unauthorized third parties.
12
           190. Defendant has full knowledge of the sensitivity of the Private
13
     Information and the types of harm that Plaintiff and the Class could and would suffer
14
     if the Private Information were wrongfully disclosed.
15
           191. Defendant knew or reasonably should have known that the failure to
16
     exercise due care in the collecting, storing, and using of the Private Information of
17
     Plaintiff and the Class involved an unreasonable risk of harm to Plaintiff and the
18
     Class, even if the harm occurred through the criminal acts of a third party.
19
           192. Defendant had a duty to exercise reasonable care in safeguarding,
20
     securing, and protecting such information from being compromised, lost, stolen,
21
     misused, and/or disclosed to unauthorized parties. This duty includes, among other
22
     things, designing, maintaining, and testing Defendant’s security protocols to ensure
23
     that the Private Information of Plaintiff and the Class in Defendant’s possession was
24
     adequately secured and protected.
25
           193. Defendant also had a duty to exercise appropriate clearinghouse
26
     practices to remove Private Information it was no longer required to retain.
27

28
                                               - 45 –

                               CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 46 of 75 Page ID #:46



 1         194. Defendant also had a duty to have procedures in place to detect and
 2   prevent the improper access and misuse of the Private Information of Plaintiff and
 3   the Class.
 4         195. Defendant’s duty to use reasonable security measures arose as a result
 5   of the special relationship that existed between Defendant and Plaintiff and the Class.
 6   That special relationship arose because Plaintiff and the Class entrusted Defendant,
 7   either directly or indirectly, with their confidential Private Information, a necessary
 8   part of obtaining services from Defendant.
 9         196. Defendant was subject to an “independent duty,” untethered to any
10   contract between Defendant and Plaintiff or the Class.
11         197. A breach of security, unauthorized access, and resulting injury to
12   Plaintiff and the Class was reasonably foreseeable, particularly in light of
13   Defendant’s inadequate security practices.
14         198. Plaintiff and the Class were the foreseeable and probable victims of any
15   inadequate security practices and procedures. Defendant knew or should have known
16   of the inherent risks in collecting and storing the Private Information of Plaintiff and
17   the Class, the critical importance of providing adequate security of that Private
18   Information, and the necessity for encrypting Private Information stored on
19   Defendant’s systems.
20         199. Defendant’s own conduct created a foreseeable risk of harm to Plaintiff
21   and the Class. Defendant’s misconduct included, but was not limited to, its failure to
22   take the steps and opportunities to prevent the Data Breach as set forth herein.
23   Defendant’s misconduct also included its decisions not to comply with industry
24   standards for the safekeeping of the Private Information of Plaintiff and the Class,
25   including basic encryption techniques freely available to Defendant.
26         200. Plaintiff and the Class had no ability to protect their Private Information
27   that was in, and possibly remains in, Defendant’s possession.
28
                                               - 46 –

                                CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 47 of 75 Page ID #:47



 1         201. Defendant was in a position to protect against the harm suffered by
 2   Plaintiff and the Class as a result of the Data Breach.
 3         202. Defendant had and continues to have a duty to adequately disclose that
 4   the Private Information of Plaintiff and the Class within Defendant’s possession
 5   might have been compromised, how it was compromised, and precisely the types of
 6   data that were compromised and when. Such notice was necessary to allow Plaintiff
 7   and the Class to take steps to prevent, mitigate, and repair any identity theft and the
 8   fraudulent use of their Private Information by third parties.
 9         203. Defendant had a duty to employ proper procedures to prevent the
10   unauthorized dissemination of the Private Information of Plaintiff and the Class.
11         204. Defendant has admitted that the Private Information of Plaintiff and the
12   Class was wrongfully lost and disclosed to unauthorized third persons as a result of
13   the Data Breach.
14         205. Defendant, through its actions and/or omissions, unlawfully breached
15   its duties to Plaintiff and the Class by failing to implement industry protocols and
16   exercise reasonable care in protecting and safeguarding the Private Information of
17   Plaintiff and the Class during the time the Private Information was within
18   Defendant’s possession or control.
19         206. Defendant improperly and inadequately safeguarded the Private
20   Information of Plaintiff and the Class in deviation of standard industry rules,
21   regulations, and practices at the time of the Data Breach.
22         207. Defendant failed to heed industry warnings and alerts to provide
23   adequate safeguards to protect the Private Information of Plaintiff and the Class in
24   the face of increased risk of theft.
25         208. Defendant, through its actions and/or omissions, unlawfully breached
26   its duty to Plaintiff and the Class by failing to have appropriate procedures in place
27   to detect and prevent dissemination of Private Information.
28
                                               - 47 –

                                 CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 48 of 75 Page ID #:48



 1         209. Defendant breached its duty to exercise appropriate clearinghouse
 2   practices by failing to remove Private Information it was no longer required to retain
 3   pursuant to regulations.
 4         210. Defendant, through its actions and/or omissions, unlawfully breached
 5   its duty to adequately and timely disclose to Plaintiff and the Class the existence and
 6   scope of the Data Breach.
 7         211. But for Defendant’s wrongful and negligent breach of duties owed to
 8   Plaintiff and the Nationwide Class, the Private Information of Plaintiff and the Class
 9   would not have been compromised.
10         212. There is a close causal connection between Defendant’s failure to
11   implement security measures to protect the Private Information of Plaintiff and the
12   Class and the harm, or risk of imminent harm, suffered by Plaintiff and the
13   Nationwide Class. The Private Information of Plaintiff and the Class was lost and
14   accessed as the proximate result of Defendant’s failure to exercise reasonable care in
15   safeguarding such Private Information by adopting, implementing, and maintaining
16   appropriate security measures.
17         213. Defendant’s duty of care to use reasonable security measures arose as a
18   result of the special relationship that existed between Defendant and consumers and
19   patients, which is recognized by laws and regulations including but not limited to
20   HIPAA, the FTC Act, and common law. Defendant was in a superior position to
21   ensure that its systems were sufficient to protect against the foreseeable risk of harm
22   to Class Members from a data breach.
23         214. Defendant’s duty to use reasonable security measures under HIPAA
24   required Defendant to “reasonably protect” confidential data from “any intentional
25   or unintentional use or disclosure” and to “have in place appropriate administrative,
26   technical, and physical safeguards to protect the privacy of protected health
27   information.” 45 C.F.R. § 164.530(c)(1). Some or all of the medical information at
28
                                              - 48 –

                                 CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 49 of 75 Page ID #:49



 1   issue in this case constitutes “protected health information” within the meaning of
 2   HIPAA.
 3         215. Additionally, Section 5 of the FTC Act prohibits “unfair . . . practices in
 4   or affecting commerce,” including, as interpreted and enforced by the FTC, the unfair
 5   act or practice by businesses, such as Defendant, of failing to use reasonable
 6   measures to protect Private Information. The FTC publications and orders described
 7   above also form part of the basis of Defendant’s duty in this regard.
 8         216. Defendant violated Section 5 of the FTC Act by failing to use reasonable
 9   measures to protect Private Information and not complying with applicable industry
10   standards, as described in detail herein. Defendant’s conduct was particularly
11   unreasonable given the nature and amount of Private Information it obtained and
12   stored and the foreseeable consequences of the immense damages that would result
13   to Plaintiff and the Class.
14         217. Defendant’s violation of Section 5 of the FTC Act constitutes
15   negligence.
16         218. Plaintiff and the Class are within the class of persons that the FTC Act
17   was intended to protect.
18         219. The harm that occurred as a result of the Data Breach is the type of harm
19   the FTC Act was intended to guard against. The FTC has pursued enforcement
20   actions against businesses, which, as a result of its failure to employ reasonable data
21   security measures and avoid unfair and deceptive practices, caused the same harm as
22   that suffered by Plaintiff and the Class.
23         220. As a direct and proximate result of Defendant’s negligence, Plaintiff and
24   the Class have suffered and will suffer injury, including but not limited to: (i) actual
25   identity theft; (ii) the loss of the opportunity of how their Private Information is used;
26   (iii) the compromise, publication, and/or theft of their Private Information; (iv) out-
27   of-pocket expenses associated with the prevention, detection, and recovery from
28   identity theft, tax fraud, and/or unauthorized use of their Private Information; (v) lost
                                                 - 49 –

                                   CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 50 of 75 Page ID #:50



 1   opportunity costs associated with effort expended and the loss of productivity
 2   addressing and attempting to mitigate the present and continuing consequences of the
 3   Data Breach, including but not limited to efforts spent researching how to prevent,
 4   detect, contest, and recover from tax fraud and identity theft; (vi) costs associated
 5   with placing freezes on credit reports; (vii) the continued risk to their Private
 6   Information, which remain in Defendant’s possession and is subject to further
 7   unauthorized disclosures so long as Defendant fails to undertake appropriate and
 8   adequate measures to protect the Private Information of Plaintiff and the Class; and
 9   (viii) present and continuing costs in terms of time, effort, and money that has been
10   and will be expended to prevent, detect, contest, and repair the impact of the Private
11   Information compromised as a result of the Data Breach for the remainder of the lives
12   of Plaintiff and the Class.
13         221. As a direct and proximate result of Defendant’s negligence, Plaintiff and
14   the Class have suffered and will continue to suffer other forms of injury and/or harm,
15   including, but not limited to, anxiety, emotional distress, loss of privacy, and other
16   economic and non-economic losses.
17         222. Additionally, as a direct and proximate result of Defendant’s
18   negligence, Plaintiff and the Class have suffered and will suffer the continued risks
19   of exposure of their Private Information, which remain in Defendant’s possession
20   and is subject to further unauthorized disclosures so long as Defendant fails to
21   undertake appropriate and adequate measures to protect the Private Information in its
22   continued possession.
23         223. As a direct and proximate result of Defendant’s negligence, Plaintiff and
24   the Class are entitled to recover actual, consequential, and nominal damages.
25

26

27

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                                              - 50 –

                                   CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 51 of 75 Page ID #:51



 1                                      COUNT II
 2                                   Negligence Per Se
                     (On behalf of Plaintiff and the Nationwide Class)
 3

 4         224. Plaintiff realleges and incorporates by reference the paragraphs 1

 5   through 186 as if fully set forth herein.

 6         225. Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45,

 7   prohibits “unfair . . . practices in or affecting commerce,” including, as interpreted

 8   and enforced by the FTC, the unfair practice of failing to use reasonable measures to

 9   protect personal information by companies such as Defendant. Various FTC

10   publications and data security breach orders further form the basis of Defendant’s

11   duty. In addition, individual states have enacted statutes based on the FTC Act that

12   also created a duty.

13         226. Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45,

14   prohibits “unfair . . . practices in or affecting commerce,” including, as interpreted

15   and enforced by the FTC, the unfair practice of failing to use reasonable measures to

16   protect personal information by companies such as Defendant. Various FTC

17   publications and data security breach orders further form the basis of Defendant’s

18   duty. In addition, individual states have enacted statutes based on the FTC Act that

19   also created a duty.

20         227. Defendant violated Section 5 of the FTC Act by failing to use reasonable

21   measures to protect personal information and not complying with industry standards.

22   Defendant’s conduct was particularly unreasonable given the nature and amount of

23   personal information it obtained and stored and the foreseeable consequences of a

24   data breach.

25         228. Defendant’s violation of Section 5 of the FTC Act constitutes

26   negligence per se.

27         229. Plaintiff and class members are consumers within the class of persons

28   Section 5 of the FTC Act was meant to protect.
                                                 - 51 –

                                CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 52 of 75 Page ID #:52



 1           230. Moreover, the harm that has occurred is the type of harm that the FTC
 2   Act was intended to guard against. Indeed, the FTC has pursued over fifty
 3   enforcement actions against businesses which, as a result of their failure to employ
 4   reasonable data security measures and avoid unfair and deceptive practices, caused
 5   the same harm suffered by Plaintiff and the class.
 6           231. As a direct and proximate result of Defendant’s negligence, Plaintiff and
 7   class members have been injured as described herein, and are entitled to damages,
 8   including compensatory, punitive, and nominal damages, in an amount to be proven
 9   at trial.
10
                                         COUNT III
                               Breach Of Implied Contract
11                    (On behalf of Plaintiff and the Nationwide Class)
12
             232. Plaintiff re-alleges and incorporates by reference herein all of the
13
     allegations contained in 1 through 186.
14
             233. Plaintiff and Class Members entered into implied contracts with
15
     Defendant under which Defendant agreed to safeguard and protect such information
16
     and to timely and accurately notify Plaintiff and Class Members that their information
17
     had been breached and compromised.
18
             234. Plaintiff and the Class were required to and delivered their Private
19
     Information to Defendant as part of the process of obtaining services provided by
20
     Defendant. Plaintiff and Class Members paid money, or money was paid on their
21
     behalf, to Defendant in exchange for services.
22
             235. Defendant solicited, offered, and invited Class Members to provide their
23
     Private Information as part of DefendantCity of Hope Holdings, Inc.regular business
24
     practices. Plaintiff and Class Members accepted Defendant’s offers and provided
25
     their Private Information to Defendant.
26

27

28
                                               - 52 –

                                CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 53 of 75 Page ID #:53



 1         236. Defendant accepted possession of Plaintiff’s and Class Members’
 2   Private Information for the purpose of providing services or Plaintiff and Class
 3   Members.
 4         237. In accepting such information and payment for services, Plaintiff and
 5   the other Class Members entered into an implied contract with Defendant whereby
 6   Defendant became obligated to reasonably safeguard Plaintiff’s and the other Class
 7   Members’ Private Information.
 8         238. In delivering their Private Information to Defendant and providing
 9   paying for healthcare services, Plaintiff and Class Members intended and understood
10   that Defendant would adequately safeguard the data as part of that service.
11         239. The implied promise of confidentiality includes consideration beyond
12   those pre-existing general duties owed under HIPAA or other state of federal
13   regulations. The additional consideration included implied promises to take adequate
14   steps to comply with specific industry data security standards and FTC guidelines on
15   data security.
16         240. The implied promises include but are not limited to: (1) taking steps to
17   ensure that any agents who are granted access to Private Information also protect the
18   confidentiality of that data; (2) taking steps to ensure that the information that is
19   placed in the control of its agents is restricted and limited to achieve an authorized
20   medical purpose; (3) restricting access to qualified and trained agents; (4) designing
21   and implementing appropriate retention policies to protect the information against
22   criminal data breaches; (5) applying or requiring proper encryption; (6) multifactor
23   authentication for access; and (7) other steps to protect against foreseeable data
24   breaches.
25         241. Plaintiff and the Class Members would not have entrusted their Private
26   Information to Defendant in the absence of such an implied contract.
27         242. Had Defendant disclosed to Plaintiff and the Class that it did not have
28   adequate computer systems and security practices to secure sensitive data, Plaintiff
                                              - 53 –

                               CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 54 of 75 Page ID #:54



 1   and the other Class Members would not have provided their Sensitive Information to
 2   Defendant.
 3         243. Defendant recognized that Plaintiff’s and Class Members’ Private
 4   Information is highly sensitive and must be protected, and that this protection was of
 5   material importance as part of the bargain to Plaintiff and the other Class Members.
 6         244. Plaintiff and the other Class Members fully performed their obligations
 7   under the implied contracts with Defendant.
 8         245. Defendant breached the implied contract with Plaintiff and the other
 9   Class Members by failing to take reasonable measures to safeguard their Private
10   Information as described herein.
11         246. As a direct and proximate result of Defendant’s conduct, Plaintiff and
12   the other Class Members suffered and will continue to suffer damages in an amount
13   to be proven at trial.
14                                   COUNT IV
15
                                 Invasion of Privacy
              Common Law Invasion of Privacy – Intrusion Upon Seclusion
16                (On behalf of Plaintiff and the Nationwide Class)
17
           247. Plaintiff re-alleges and incorporates by reference herein all of the
18
     allegations contained in 1 through 186.
19
           248. To assert claims for intrusion upon seclusion, one must plead (1) that
20
     the defendant intentionally intruded into a matter as to which plaintiff had a
21
     reasonable expectation of privacy; and (2) that the intrusion was highly offensive to
22
     a reasonable person.
23
           249. Defendant intentionally intruded upon the solitude, seclusion and
24
     private affairs of Plaintiff and Class Members by intentionally configuring their
25
     systems in such a way that left them vulnerable to malware/ransomware attack, thus
26
     permitting unauthorized access to their systems, which compromised Plaintiff’s and
27
     Class Members’ personal information. Only Defendant had control over its systems.
28
                                               - 54 –

                               CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 55 of 75 Page ID #:55



 1             250. Defendant’s conduct is especially egregious and offensive as they failed
 2   to have adequate security measures in place to prevent, track, or detect in a timely
 3   fashion unauthorized access to Plaintiff’s and Class Members’ personal information.
 4             251. At all times, Defendant was aware that Plaintiff’s and Class Members’
 5   personal information in their possession contained highly sensitive and confidential
 6   personal information.
 7             252. Plaintiff and Class Members have a reasonable expectation of privacy
 8   in their personal information, which also contains highly sensitive medical
 9   information.
10             253. Defendant intentionally configured their systems in such a way that
11   stored Plaintiff’s and Class Members’ personal information to be left vulnerable to
12   malware/ransomware attack without regard for Plaintiff’s and Class Members’
13   privacy interests.
14             254. The disclosure of the sensitive and confidential personal information of
15   thousands of consumers, was highly offensive to Plaintiff and class members because
16   it violated expectations of privacy that have been established by general social norms,
17   including by granting access to information and data that is private and would not
18   otherwise be disclosed.
19             255. Defendant’s conduct would be highly offensive to a reasonable person
20   in that it violated statutory and regulatory protections designed to protect highly
21   sensitive information, in addition to social norms. Defendant’s conduct would be
22   especially egregious to a reasonable person as Defendant publicly disclosed
23   Plaintiff’s and Class Members’ sensitive and confidential personal information
24   without their consent, to an “unauthorized person,” i.e., hackers.
25             256. As a result of Defendant’s actions, Plaintiff and Class Members have
26   suffered harm and injury, including but not limited to an invasion of their privacy
27   rights.
28
                                                - 55 –

                                  CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 56 of 75 Page ID #:56



 1         257. Plaintiff and Class Members have been damaged as a direct and
 2   proximate result of Defendant’s intrusion upon seclusion and are entitled to just
 3   compensation.
 4         258. Plaintiff and class members are entitled to appropriate relief, including
 5   compensatory damages for the harm to their privacy, loss of valuable rights and
 6   protections, and heightened stress, fear, anxiety, and risk of future invasions of
 7   privacy.
 8                                       COUNT V
 9
         Violation of the California Confidentiality of Medical Information Act
                          (“CMIA”), Cal. Civ. Code § 56, et seq.
10                        (By Plaintiff and the California Class)
11
           259. Plaintiff re-alleges and incorporates by reference herein all of the
12
     allegations contained in 1 through 186.
13
           260. In Section 56.10(a) of the California Civil Code provides that "[a]
14
     provider of health care, health care service plan, or contractor shall not disclose
15
     medical information regarding a patient of the provider of health care or an enrollee
16
     or subscriber of a health care service plan without first obtaining an authorization[.]"
17
           261. Defendant is a "contractor" within the meaning of Civil Code § 56.05(d)
18
     within the meaning of Civil Code § 56.06 and/or a "business organized for the
19
     purpose of maintaining medical information" and/or a "business that offers software
20
     or hardware to consumers . . . that is designed to maintain medical information"
21
     within the meaning of Civil Code § 56.06(a) and (b), and maintained and continues
22
     to maintain "medical information," within the meaning of Civil Code § 56.05(j), for
23
     "patients" of Defendant, within the meaning of Civil Code § 56.05(k).
24
           262. Plaintiff and California subclass members are "patients" within the
25
     meaning of Civil Code § 56.05(k) and are "endanger[ed]" within the meaning of Civil
26
     Code § 56.05(e) because Plaintiff and California subclass members fear that
27
     disclosure of their medical information could subject them to harassment or abuse.
28
                                               - 56 –

                                CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 57 of 75 Page ID #:57



 1         263. Plaintiff and California subclass members, as patients, had their
 2   individually identifiable "medical information," within the meaning of Civil Code §
 3   56.05(j), created, maintained, preserved, and stored on Defendant's computer
 4   network at the time of the unauthorized disclosure.
 5         264. Defendant, through inadequate security, allowed unauthorized third-
 6   party access to Plaintiff's and California subclass members’ medical information,
 7   without the prior written authorization of Plaintiff and California subclass members,
 8   as required by Civil Code § 56.10 of the CMIA.
 9         265. In violation of Civil Code § 56.10(a), Defendant disclosed Plaintiff's and
10   California subclass members' medical information without first obtaining an
11   authorization. Plaintiff's and California subclass members’ medical information was
12   viewed by unauthorized individuals as a direct and proximate result of Defendant's
13   violation of Civil Code § 56.10(a).
14         266. In violation of Civil Code § 56.10(e), Defendant further disclosed
15   Plaintiff's and California subclass members’ medical information to persons or
16   entities not engaged in providing direct health care services to Plaintiff or California
17   subclass members, or to their providers of health care or health care service plans or
18   their insurers or self-insured employers.
19         267. Defendant violated Civil Code § 56.101 of the CMIA through its willful
20   and knowing failure to maintain and preserve the confidentiality of the medical
21   information of Plaintiff and the California subclass members. Defendant's conduct
22   with respect to the disclosure of confidential PII and PHI was willful and knowing
23   because Defendant designed and implemented the computer network and security
24   practices that gave rise to the unlawful disclosure.
25         268. In violation of Civil Code § 56.101(a), Defendant created, maintained,
26   preserved, stored, abandoned, destroyed, or disposed of Plaintiff's and class members'
27   medical information in a manner that failed to preserve and breached the
28   confidentiality of the information contained therein. Plaintiff's and California
                                                 - 57 –

                                CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 58 of 75 Page ID #:58



 1   subclass member’ medical information was viewed by unauthorized individuals as a
 2   direct and proximate result of Defendant's violation of Civil Code § 56.101(a). 380.
 3   In violation of Civil Code § 56.101(a), Defendant negligently created, maintained,
 4   preserved, stored, abandoned, destroyed, or disposed of Plaintiff's and California
 5   subclass members’ medical information. Plaintiff's and California subclass members’
 6   medical information was viewed by unauthorized individuals as a direct and
 7   proximate result of Defendant's violation of Civil Code § 56.101(a).
 8         269. Plaintiff's and California subclass members’ medical information that
 9   was the subject of the unauthorized disclosure included "electronic medical records"
10   or "electronic health records" as referenced by Civil Code § 56.101(c) and defined
11   by 42 U.S.C. § 17921(5).
12         270. In violation of Civil Code § 56.101(b)(1)(A), Defendant's electronic
13   health record system or electronic medical record system failed to protect and
14   preserve the integrity of electronic medical information. Plaintiff's and California
15   subclass members’ medical information was viewed by unauthorized individuals as
16   a direct and proximate result of Defendant's violation of Civil Code §
17   56.101(b)(1)(A).
18         271. Defendant violated Civil Code § 56.36 of the CMIA through its failure
19   to maintain and preserve the confidentiality of the medical information of Plaintiff
20   and the California subclass members.
21         272. As a result of Defendant's above-described conduct, Plaintiff and
22   California subclass members have suffered damages from the unauthorized
23   disclosure and release of their individual identifiable "medical information" made
24   unlawful by Civil Code §§ 56.10, 56.101, 56.36. 385. As a direct and proximate result
25   of Defendant's above-described wrongful actions, inaction, omissions, and want of
26   ordinary care that directly and proximately caused the unauthorized disclosure, and
27   violation of the CMIA, Plaintiff and California subclass members have suffered (and
28   will continue to suffer) economic damages and other injury and actual harm in the
                                             - 58 –

                                CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 59 of 75 Page ID #:59



 1   form of, inter alia, (i) an imminent, immediate and the continuing increased risk of
 2   identity theft, identity fraud and medical fraud-risks justifying expenditures for
 3   protective and remedial services for which they are entitled to compensation, (ii)
 4   invasion of privacy, (iii) breach of the confidentiality of their PII and PHI, (iv)
 5   statutory damages under the California CMIA, (v) deprivation of the value of their
 6   PII and PHI, for which there is a well-established national and international market,
 7   and/or (vi) the financial and temporal cost of monitoring their credit, monitoring their
 8   financial accounts, and mitigating their damages.
 9         273. Plaintiff, individually and for each member of the Class, seeks nominal
10   damages of one thousand dollars ($1,000) for each violation under Civil Code §
11   56.36(b)(1), and actual damages suffered, if any, pursuant to Civil Code §
12   56.36(b)(2), injunctive relief, as well as punitive damages of up to $3,000 per
13   Plaintiff and each California subclass member, and attorneys' fees, litigation
14   expenses and court costs, pursuant to Civil Code § 56.35.
15                                      COUNT VI
16
                    Violation of the California Customer Records Act,
                             Cal. Civ. Code §§ 1798.80 et seq.,
17                      (By Plaintiff and the California Subclass)
18
           274. Plaintiff re-alleges and incorporates by reference herein all of the
19
     allegations contained in 1 through 186.
20
           275. Cal. Civ. Code § 1798.81.5 provides that “[i]t is the intent of the
21
     Legislature to ensure that personal information about California residents is
22
     protected. To that end, the purpose of this section is to encourage businesses that
23
     own, license, or maintain personal information about Californians to provide
24
     reasonable security for that information.”
25
           276. Section 1798.81.5(b) further states that: “[a] business that owns,
26
     licenses, or maintains personal information about a California resident shall
27
     implement and maintain reasonable security procedures and practices appropriate to
28
                                               - 59 –

                                CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 60 of 75 Page ID #:60



 1   the nature of the information, to protect the personal information from unauthorized
 2   access, destruction, use, modification, or disclosure.”
 3         277. Cal. Civ. Code § 1798.84(b) provides that [a]ny customer injured by a
 4   violation of this title may institute a civil action to recover damages.” Section
 5   1798.84(e) further provides that “[a]ny business that violates, proposes to violate, or
 6   has violated this title may be enjoined.”
 7         278. Plaintiff and members of the California subclass are “customers” within
 8   the meaning of Civ. Code § 1798.80(c) and 1798.84(b) because they are individuals
 9   who provided personal information to Defendant, directly and/or indirectly, for the
10   purpose of obtaining a service from Defendant.
11         279. The personal information of Plaintiff and the California subclass at issue
12   in this lawsuit constitutes “personal information” under § 1798.81.5(d)(1) in that the
13   personal information Defendant collects and which was impacted by the
14   cybersecurity attack includes an individual’s first name or first initial and the
15   individual’s last name in combination with one or more of the following data
16   elements, with either the name or the data elements not encrypted or redacted: (i)
17   Social security number; (ii) Driver’s license number, California identification card
18   number, tax identification number, passport number, military identification number,
19   or other unique identification number issued on a government document commonly
20   used to verify the identity of a specific individual; (iii) account number or credit or
21   debit card number, in combination with any required security code, access code, or
22   password that would permit access to an individual’s financial account; (iv) medical
23   information; (v) health insurance information; (vi) unique biometric data generated
24   from measurements or technical analysis of human body characteristics, such as a
25   fingerprint, retina, or iris image, used to authenticate a specific individual.
26         280. Defendant knew or should have known that its computer systems and
27   data security practices were inadequate to safeguard the California subclass’s
28   personal information and that the risk of a data breach or theft was highly likely.
                                                 - 60 –

                                CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 61 of 75 Page ID #:61



 1   Defendant failed to implement and maintain reasonable security procedures and
 2   practices appropriate to the nature of the information to protect the personal
 3   information of Plaintiff and the California subclass. Specifically, Defendant failed to
 4   implement and maintain reasonable security procedures and practices appropriate to
 5   the nature of the information, to protect the personal information of Plaintiff and the
 6   California subclass from unauthorized access, destruction, use, modification, or
 7   disclosure. Defendant further subjected Plaintiff’s and the California subclass’s
 8   nonencrypted and nonredacted personal information to an unauthorized access and
 9   exfiltration, theft, or disclosure as a result of the Defendant’s violation of the duty to
10   implement and maintain reasonable security procedures and practices appropriate to
11   the nature of the information, as described herein.
12         281. As a direct and proximate result of Defendant’s violation of its duty, the
13   unauthorized access, destruction, use, modification, or disclosure of the personal
14   information of Plaintiff and the California subclass included hackers’ access to,
15   removal, deletion, destruction, use, modification, disabling, disclosure and/or
16   conversion of the personal information of Plaintiff and the California subclass by the
17   ransomware attackers and/or additional unauthorized third parties to whom those
18   cybercriminals sold and/or otherwise transmitted the information.
19         282. As a direct and proximate result of Defendant’s acts or omissions,
20   Plaintiff and the California subclass were injured and lost money or property
21   including, but not limited to, the loss of Plaintiff’s and the subclass’s legally protected
22   interest in the confidentiality and privacy of their personal information, nominal
23   damages, and additional losses described above. Plaintiff seeks compensatory
24   damages as well as injunctive relief pursuant to Cal. Civ. Code § 1798.84(b).
25         283. Moreover, the California Customer Records Act further provides: “A
26   person or business that maintains computerized data that includes personal
27   information that the person or business does not own shall notify the owner or
28   licensee of the information of the breach of the security of the data immediately
                                                - 61 –

                                 CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 62 of 75 Page ID #:62



 1   following discovery, if the personal information was, or is reasonably believed to
 2   have been, acquired by an unauthorized person.” Cal. Civ. Code § 1798.82.
 3         284. Any person or business that is required to issue a security breach
 4   notification under the CRA must meet the following requirements under
 5   §1798.82(d):
 6            a. The name and contact information of the reporting person or business
 7               subject to this section;
 8            b. A list of the types of personal information that were or are reasonably
 9               believed to have been the subject of a breach;
10            c. If the information is possible to determine at the time the notice is
11               provided, then any of the following:
12                   i. the date of the breach,
13                  ii. the estimated date of the breach, or
14                  iii. the date range within which the breach occurred. The notification
15                      shall also include the date of the notice;
16            d. Whether notification was delayed as a result of a law enforcement
17               investigation, if that information is possible to determine at the time the
18               notice is provided;
19            e. A general description of the breach incident, if that information is
20               possible to determine at the time the notice is provided;
21            f. The toll-free telephone numbers and addresses of the major credit
22               reporting agencies if the breach exposed a social security number or a
23               driver’s license or California identification card number;
24            g. If the person or business providing the notification was the source of the
25               breach, an offer to provide appropriate identity theft prevention and
26               mitigation services, if any, shall be provided at no cost to the affected
27               person for not less than 12 months along with all information necessary
28               to take advantage of the offer to any person whose information was or
                                              - 62 –

                               CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 63 of 75 Page ID #:63



 1                 may have been breached if the breach exposed or may have exposed
 2                 personal information.
 3         285. Defendant failed to provide the legally compliant notice under §
 4   1798.82(d) to Plaintiff and members of the California subclass. On information and
 5   belief, to date, Defendant has not sent written notice of the data breach to all impacted
 6   individuals. As a result, Defendant has violated § 1798.82 by not providing legally
 7   compliant and timely notice to all class members. Because not all members of the
 8   class have been notified of the breach, members could have taken action to protect
 9   their personal information but were unable to do so because they were not timely
10   notified of the breach.
11         286. According to information and belief, many class members affected by
12   the breach, have not received any notice at all from Defendant in violation of Section
13   1798.82(d).
14         287. As a result of the violations of Cal. Civ. Code § 1798.82, Plaintiff and
15   class members suffered incrementally increased damages separate and distinct from
16   those simply caused by the breaches themselves.
17         288. As a direct consequence of the actions as identified above, Plaintiff and
18   class members incurred additional losses and suffered further harm to their privacy,
19   including but not limited to economic loss, the loss of control over the use of their
20   identity, increased stress, fear, and anxiety, harm to their constitutional right to
21   privacy, lost time dedicated to the investigation of the breach and effort to cure any
22   resulting harm, the need for future expenses and time dedicated to the recovery and
23   protection of further loss, and privacy injuries associated with having their sensitive
24   personal, financial, and payroll information disclosed, that they would not have
25   otherwise incurred, and are entitled to recover compensatory damages according to
26   proof pursuant to § 1798.84(b).
27

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                                               - 63 –

                                CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 64 of 75 Page ID #:64



 1                                      COUNT VII
 2
                    Violation of the California Unfair Competition Law
                              Cal. Civ. Code §§ 17200 et seq.,
 3                          (By Plaintiff and the California Subclass)
 4
           289. Plaintiff re-alleges and incorporates by reference herein all of the
 5
     allegations contained in 1 through 186.
 6
           290. Defendant is a “person” defined by Cal. Bus. & Prof. Code § 17201.
 7
           291. Defendant violated Cal. Bus. & Prof. Code § 17200 et seq. (“UCL”) by
 8
     engaging in unlawful and unfair business acts and practices.
 9
           292. Defendant’ “unfair” acts and practices include:
10
           293. Defendant failed to implement and maintain reasonable security
11
     measures to protect Plaintiff’s and California subclass members’ personal
12
     information from unauthorized disclosure, release, data breaches, and theft, which
13
     was a direct and proximate cause of the Defendant data breach. Defendant failed to
14
     identify foreseeable security risks, remediate identified security risks, and adequately
15
     improve security following previous cybersecurity incidents and known coding
16
     vulnerabilities in the industry;
17
           294. Defendant’s failure to implement and maintain reasonable security
18
     measures also was contrary to legislatively declared public policy that seeks to
19
     protect consumers’ data and ensure that entities that are trusted with it use appropriate
20
     security measures. These policies are reflected in laws, including the FTC Act (15
21
     U.S.C. § 45), California’s Customer Records Act (Cal. Civ. Code § 1798.80 et seq.),
22
     and California’s Confidentiality of Medical Information Act (Cal. Civ. Code § 56);
23
           295. Defendant’s failure to implement and maintain reasonable security
24
     measures also led to substantial consumer injuries, as described above, that are not
25
     outweighed by any countervailing benefits to consumers or competition. Moreover,
26
     because consumers could not know of Defendant’s inadequate security, consumers
27
     could not have reasonably avoided the harms that Defendant caused; and
28
                                               - 64 –

                                CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 65 of 75 Page ID #:65



 1         296. Engaging in unlawful business practices by violating Cal. Civ. Code §
 2   1798.82.
 3         297. Defendant has engaged in “unlawful” business practices by violating
 4   multiple laws, including California’s Consumer Records Act, Cal. Civ. Code §§
 5   1798.81.5 (requiring reasonable data security measures) and 1798.82 (requiring
 6   timely breach notification), California’s Confidentiality of Medical Information Act
 7   (Cal. Civ. Code § 56), California’s Consumers Legal Remedies Act, Cal. Civ. Code
 8   §§ 1780, et seq., the FTC Act, 15 U.S.C. § 45, and California common law.
 9         298. Defendant’s unlawful and unfair practices include:
10         299. Failing to implement and maintain reasonable security and privacy
11   measures to protect Plaintiff’s and California subclass members’ personal
12   information, which was a direct and proximate cause of the Defendant data breach;
13         300. Failing to identify foreseeable security and privacy risks, remediate
14   identified security and privacy risks, and adequately improve security and privacy
15   measures following previous cybersecurity incidents, which was a direct and
16   proximate cause of the Defendant data breach;
17         301. Failing to comply with common law and statutory duties pertaining to
18   the security and privacy of Plaintiff’s and California subclass members’ personal
19   information, including duties imposed by the FTC Act, 15 U.S.C. § 45, California’s
20   Customer Records Act, Cal. Civ. Code §§ 1798.80 et seq., and California’s
21   Confidentiality of Medical Information Act (Cal. Civ. Code § 56), which was a direct
22   and proximate cause of the Defendant data breach;
23         302. Misrepresenting that it would protect the privacy and confidentiality of
24   Plaintiff’s and California subclass members’ personal information, including by
25   implementing and maintaining reasonable security measures;
26         303. Misrepresenting that it would comply with common law and statutory
27   duties pertaining to the security and privacy of Plaintiff’s and California subclass
28   members’ personal information, including duties imposed by the FTC Act, 15 U.S.C.
                                             - 65 –

                               CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 66 of 75 Page ID #:66



 1   § 45, California’s Customer Records Act, Cal. Civ. Code §§ 1798.80, et seq., and
 2   California’s Confidentiality of Medical Information Act (Cal. Civ. Code § 56);
 3         304. Omitting, suppressing, and concealing the material fact that it did not
 4   reasonably or adequately secure Plaintiff’s and California subclass members’
 5   personal information; and
 6         305. Omitting, suppressing, and concealing the material fact that it did not
 7   comply with common law and statutory duties pertaining to the security and privacy
 8   of Plaintiff’s and California subclass members’ personal information, including
 9   duties imposed by the FTC Act, 15 U.S.C. § 45, California’s Customer Records Act,
10   Cal. Civ. Code §§ 1798.80, et seq., and California’s Confidentiality of Medical
11   Information Act (Cal. Civ. Code § 56).
12         306.     Defendant’s representations and omissions were material because they
13   were likely to deceive reasonable consumers about the adequacy of Defendant’s data
14   security and ability to protect the confidentiality of consumers’ personal information.
15         307. As a direct and proximate result of Defendant’s unfair and unlawful acts
16   and practices, Plaintiff and California subclass members were injured and lost money
17   or property, which would not have occurred but for the unfair and unlawful acts
18   alleged herein, monetary damages from fraud and identity theft, time and expenses
19   related to monitoring their financial accounts for fraudulent activity, an increased,
20   imminent risk of fraud and identity theft, and loss of value of their personal
21   information.
22         308. Defendant’s violations were, and are, willful, deceptive, unfair, and
23   unconscionable.
24         309. Plaintiff and class members have lost money and property as a result of
25   Defendant’s conduct in violation of the UCL, as stated herein and above.
26         310. By deceptively storing, collecting, and disclosing their personal
27   information, Defendant has taken money or property from Plaintiff and California
28   subclass members.
                                              - 66 –

                                 CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 67 of 75 Page ID #:67



 1         311. Defendant acted intentionally, knowingly, and maliciously to violate
 2   California’s Unfair Competition Law, and recklessly disregarded Plaintiff’s and
 3   California subclass members’ rights. Past data breaches put Defendant on notice that
 4   its security and privacy protections were inadequate.
 5         312. Plaintiff and California subclass members seek all monetary and
 6   nonmonetary relief allowed by law, including restitution of all profits stemming from
 7   Defendant’s unfair and unlawful business practices or use of their personal
 8   information; declaratory relief; reasonable attorneys’ fees and costs under California
 9   Code of Civil Procedure § 1021.5; injunctive relief; and other appropriate equitable
10   relief, including public injunctive relief.
11                                       COUNT VIII
12
                               DECLARATORY JUDGMENT
                               (By Plaintiff and the Nationwide Class)
13
           313. Plaintiff re-alleges and incorporates by reference herein all of the
14
     allegations contained in 1 through 186.
15
           314. This count is brought under the Federal Declaratory Judgment Act, 28
16
     U.S.C. § 2201.
17
           315. As previously alleged, Plaintiff and members of the Class entered into
18
     implied contracts with Defendant, which contracts required Defendant to provide
19
     adequate security for the Private Information collected from Plaintiff and the Class.
20
           316. Defendant owed and still owes a duty of care to Plaintiff and Class
21
     members that require it to adequately secure Plaintiff’s and Class members’ Private
22
     Information.
23
           317. Upon reason and belief, Defendant still possesses the Private
24
     Information of Plaintiff and the Class members.
25
           318. Defendant has not satisfied its contractual obligations and legal duties
26
     to Plaintiff and the Class members.
27

28
                                                   - 67 –

                                 CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 68 of 75 Page ID #:68



 1         319. Since the Data Breach, Defendant has not yet announced any changes
 2   to its data security infrastructure, processes or procedures to fix the vulnerabilities in
 3   its computer systems and/or security practices which permitted the Data Breaches to
 4   occur and go undetected and, thereby, prevent further attacks.
 5         320. Defendant has not satisfied its contractual obligations and legal duties
 6   to Plaintiff and the Class. In fact, now that Defendant’s insufficient data security is
 7   known to hackers, the Private Information in Defendant’s possession is even more
 8   vulnerable to cyberattack.
 9         321. Actual harm has arisen in the wake of the Data Breach regarding
10   Defendant’s contractual obligations and duties of care to provide security measures
11   to Plaintiff and the members of the Class. Further, Plaintiff and the members of the
12   Class are at risk of additional or further harm due to the exposure of their Private
13   Information and Defendant’s failure to address the security failings that led to such
14   exposure.
15         322. There is no reason to believe that Defendant’s security measures are any
16   more adequate now than they were before the Data Breach to meet Defendant’s
17   contractual obligations and legal duties.
18         323. Plaintiff and the Class, therefore, seek a declaration (1) that Defendant’s
19   existing security measures do not comply with its contractual obligations and duties
20   of care to provide adequate security, and (2) that to comply with its contractual
21   obligations and duties of care, Defendant must implement and maintain reasonable
22   security measures, including, but not limited to:
23                a. Ordering      that     Defendant       engage     third-party    security
24                    auditors/penetration testers as well as internal security personnel to
25                    conduct testing, including simulated attacks, penetration tests, and
26                    audits on Defendant’s systems on a periodic basis, and ordering
27                    Defendant to promptly correct any problems or issues detected by
28                    such third-party security auditors;
                                                 - 68 –

                                  CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 69 of 75 Page ID #:69



 1                  b. Ordering that Defendant engage third-party security auditors and
 2                     internal personnel to run automated security monitoring;
 3                  c. Ordering that Defendant audit, test, and train its security personnel
 4                     regarding any new or modified procedures;
 5                  d. Ordering that Defendant segment employee data by, among other
 6                     things, creating firewalls and access controls so that if one area of
 7                     Defendant’s systems is compromised, hackers cannot gain access to
 8                     other portions of Defendant’s systems;
 9                  e. Ordering that Defendant purge, delete, and destroy, in a reasonably
10                     secure manner, customer data not necessary for their provisions of
11                     services;
12                  f. Ordering that Defendant conduct regular database scanning and
13                     security checks; and
14                  g. Ordering that Defendant routinely and continually conduct internal
15                     training and education to inform internal security personnel how to
16                     identify and contain a breach when it occurs and what to do in
17                     response to a breach.
18                                        COUNT IX
19
                                  UNJUST ENRICHMENT
                               (By Plaintiff and the Nationwide Class)
20
           324. Plaintiff re-alleges and incorporates by reference herein all of the
21
     allegations contained in 1 through 186.
22
           325. This claim is pleaded in the alternative to the breach implied contract
23
     claim above.
24
           326. Plaintiff and Class Members conferred a monetary benefit to Defendant
25
     by paying Defendant for medical services.
26
           327. Defendant knew that Plaintiffs and Class Members conferred a
27
     monetary benefit to Defendant when they accepted and retained that benefit.
28
                                               - 69 –

                                   CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 70 of 75 Page ID #:70



 1         328. Defendant was supposed to use some of the monetary benefit provided
 2   to them from Plaintiff and Class members to secure the Private Information
 3   belonging to Plaintiff and Class members by paying for costs of adequate data
 4   management and security.
 5         329. Defendant should not be permitted to retain any monetary benefit as a
 6   result of its failure to implement necessary security measures to protect the Private
 7   Information of Plaintiff and Class members.
 8         330. Defendant gained access to the Plaintiff’s and Class members’ Private
 9   Information through inequitable means because Defendant failed to disclose that it
10   used inadequate security measures.
11         331. Plaintiff and Class members were unaware of the inadequate security
12   measures and would not have provided their Private Information to Defendant had
13   they known of the inadequate security measures.
14         332. To the extent that this cause of action is pled in the alternative to the
15   others, Plaintiff and Class members have no adequate remedy at law.
16         333. As a direct and proximate result of Defendant’s conduct, Plaintiff and
17   Class members have suffered and will suffer injury, including but not limited to:
18   (i) actual identity theft; (ii) the loss of the opportunity how their Private Information
19   is used; (iii) the compromise and/or theft of their Private Information; (iv) out-of-
20   pocket expenses associated with the prevention, detection, and recovery from identity
21   theft, tax fraud, and/or unauthorized use of their Private Information; (v) lost
22   opportunity costs associated with effort expended and the loss of productivity
23   addressing and attempting to mitigate the actual and future consequences of the Data
24   Breach, including but not limited to efforts spent researching how to prevent, detect,
25   contest, and recover from tax fraud and identity theft; (vi) costs associated with
26   placing freezes on credit reports; (vii) the continued risk to their Private Information,
27   which remain in Defendant’s possession and is subject to further unauthorized
28   disclosures so long as Defendant fails to undertake appropriate and adequate
                                               - 70 –

                                CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 71 of 75 Page ID #:71



 1   measures to protect the Private Information of Plaintiff and Class members; and (viii)
 2   future costs in terms of time, effort, and money that will be expended to prevent,
 3   detect, contest, and repair the impact of the Private Information compromised as a
 4   result of the Data Breach for the remainder of the lives of Plaintiff and Class
 5   members.
 6         334. As a direct and proximate result of Defendant’s conduct, Plaintiff and
 7   Class members have suffered and will continue to suffer other forms of injury and/or
 8   harm, including, but not limited to, anxiety, emotional distress, loss of privacy, and
 9   other economic and non-economic losses.
10         335. Defendant should be compelled to disgorge into a common fund or
11   constructive trust, for the benefit of Plaintiff and Class members, proceeds from the
12   monetary benefit that it unjustly received from them.
13                                 PRAYER FOR RELIEF
14         WHEREFORE, Plaintiff, on behalf of themselves and Class Members,
15   request judgment against Defendant and that the Court grant the following:
16         A.     For an Order certifying the Classes, and appointing Plaintiff and his
17                Counsel to represent the Class;
18         B.     For equitable relief enjoining Defendant from engaging in the wrongful
19                conduct complained of herein pertaining to the misuse and/or disclosure
20                of the Private Information of Plaintiff and Class Members, and from
21                refusing to issue prompt, complete, any accurate disclosures to Plaintiff
22                and Class Members;
23         C.     For injunctive relief requested by Plaintiff, including, but not limited to,
24                injunctive and other equitable relief as is necessary to protect the
25                interests of Plaintiff and Class Members, including but not limited to an
26                order:
27               i. prohibiting Defendant from engaging in the wrongful and unlawful
28                   acts described herein;
                                               - 71 –

                                CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 72 of 75 Page ID #:72



 1              ii. requiring Defendant to protect, including through encryption, all data
 2                  collected through the course of its business in accordance with all
 3                  applicable regulations, industry standards, and federal, state, or local
 4                  laws;
 5             iii. requiring Defendant to delete, destroy, and purge the Private
 6                  Information of Plaintiff and Class Members unless Defendant can
 7                  provide to the Court reasonable justification for the retention and use
 8                  of such information when weighed against the privacy interests of
 9                  Plaintiff and Class Members;
10             iv. requiring Defendant to implement and maintain a comprehensive
11                  Information Security Program designed to protect the confidentiality
12                  and integrity of the Private Information of Plaintiff and Class
13                  Members;
14              v. prohibiting Defendant from maintaining the Private Information of
15                  Plaintiff and Class Members on a cloud-based database;
16             vi. requiring Defendant to engage independent third-party security
17                  auditors/penetration testers as well as internal security personnel to
18                  conduct testing, including simulated attacks, penetration tests, and
19                  audits on Defendant’s systems on a periodic basis, and ordering
20                  Defendant to promptly correct any problems or issues detected by
21                  such third-party security auditors;
22             vii. requiring Defendant to engage independent third-party security
23                  auditors and internal personnel to run automated security
24                  monitoring;
25            viii. requiring Defendant to audit, test, and train its security personnel
26                  regarding any new or modified procedures;
27             ix. requiring Defendant to segment data by, among other things, creating
28                  firewalls and access controls so that if one area of Defendant’s
                                             - 72 –

                              CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 73 of 75 Page ID #:73



 1                  network is compromised, hackers cannot gain access to other
 2                  portions of Defendant’s systems;
 3              x. requiring Defendant to conduct regular database scanning and
 4                  securing checks;
 5             xi. requiring Defendant to establish an information security training
 6                  program that includes at least annual information security training
 7                  for all employees, with additional training to be provided as
 8                  appropriate based upon the employees’ respective responsibilities
 9                  with handling Private Information, as well as protecting the Private
10                  Information of Plaintiff and Class Members;
11             xii. requiring Defendant to routinely and continually conduct internal
12                  training and education, and on an annual basis to inform internal
13                  security personnel how to identify and contain a breach when it
14                  occurs and what to do in response to a breach;
15            xiii. requiring Defendant to implement a system of tests to assess its
16                  respective employees’ knowledge of the education programs
17                  discussed in the preceding subparagraphs, as well as randomly and
18                  periodically testing employees’ compliance with Defendant’s
19                  policies, programs, and systems for protecting personal identifying
20                  information;
21            xiv. requiring Defendant to implement, maintain, regularly review, and
22                  revise as necessary a threat management program designed to
23                  appropriately monitor Defendant’s information networks for threats,
24                  both internal and external, and assess whether monitoring tools are
25                  appropriately configured, tested, and updated;
26             xv. requiring Defendant to meaningfully educate all Class Members
27                  about the threats that they face as a result of the loss of their
28
                                            - 73 –

                              CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 74 of 75 Page ID #:74



 1                   confidential personal identifying information to third parties, as well
 2                   as the steps affected individuals must take to protect themselves;
 3              xvi. requiring Defendant to implement logging and monitoring programs
 4                   sufficient to track traffic to and from Defendant’s servers; and for a
 5                   period of 10 years, appointing a qualified and independent third party
 6                   assessor to conduct a SOC 2 Type 2 attestation on an annual basis to
 7                   evaluate Defendant’s compliance with the terms of the Court’s final
 8                   judgment, to provide such report to the Court and to counsel for the
 9                   class, and to report any deficiencies with compliance of the Court’s
10                   final judgment;
11         D.     For an award of damages, including, but not limited to, actual,
12                consequential, and nominal damages in an amount to be proven at trial,
13                in excess of $5,000,000.
14         E.     Statutory damages pursuant to Cal. Civ. Code § 56.36(b);
15         F.     Reasonable attorneys’ fees, including pursuant to Cal. Civ. Pro. Code §
16                1021.5;
17         G.     For prejudgment interest on all amounts awarded; and
18         H.     Such other and further relief as this Court may deem just and proper.
19                             DEMAND FOR JURY TRIAL
20         Plaintiff, on behalf of himself and the Nationwide Class and California
21   subclass, hereby demands that this matter be tried before a jury.
22   Date: April 22, 2024              Respectfully Submitted,
23                                      /s/ John J. Nelson
24
                                       John J. Nelson (SBN 317598)
                                       MILBERG COLEMAN BRYSON
25                                     PHILLIPS GROSSMAN, PLLC
26                                     280 S. Beverly Drive
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                                              - 74 –

                               CLASS ACTION COMPLAINT
Case 5:24-cv-00847-PA-KS Document 1 Filed 04/22/24 Page 75 of 75 Page ID #:75



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10                                Counsel for Plaintiff and Putative Class
11

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                                          - 75 –

                             CLASS ACTION COMPLAINT
